             Case 2:18-cv-00924-PD        Document 15-5    Filed 05/03/18    Page 1 of 81

DATE: ll/03/16 @ 0002          Mercy Fitzgerald Hospital PHA *LIVE*                           PAGE 61
USER: MT                        Medication Administration Summary

Patient                                       Resix>nsible Doctor LITTMAN,M.ARIO, MD
account Nu-.ber FA1307223089      Location   FI4PVA              Unit Nwaber      F001250247
age/Sex         37/M              ROOll      411                 Registered Date 10/07/16
Status          DIS IN           Bed         02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                            (Continued)


CEFT2FRO - cefTRIAXone SODIUM 2 Gram /100 ML NSS PIGGYBACK - 100 ML

  .A.ch.in Route IV
  Site
  Voluae         100          Rate 100 MLS/HR                      Duration 1 HR
  Start Date 10/14/16-2100           Stop Date None                 DC Date 10/16/16-1047
  Ordering Doctor        GIIBERT,MARK, MD
  Clinical Indication BACTEREMIA
  Last Bag       4
  Total Dispensed        4           Total Costs $27.44              Total Charges $227.00
  Rx Nu:aber     001882467



  History
   10/14/16 1743 -    POM ORDER                    by COGILBEM
   10/14/16 1745 -    VERIFIED                     by FIL INC
   10/14/16 2006 -    DEBIT                        by JMCCORMICK
        ITEMS: 1        DOSES: 1
   10/15/16 0800 -    DEBIT                        by HBEURKET
        ITEMS: 1        DOSES: 1
   10/15/16 1954 -    DEBIT                        by NREVAK
        ITEMS: 1        DOSES: 1
   10/16/16 0804 -    DEBIT                        by HBEURKET
        ITEMS: 1        DOSES: 1
   10/16/16 1109 -    DISCONTINUE                  by COZHANGH        Eff: 10/16/16 104 7
      EDIT DOCTOR:    ZHANG,HONGYU MD
      EDIT SOURCE:    Provider Source

Juba.in Date Tiae User      Given Bag Reason Cc:rle                 Items         Charge
10/14/16     2007 FIMCCORJ    y                                         1           0.00
(10/14/16) (2100) Rate: 100 MLS/HR
10/15/16     0807 FIBEURKH     y                                        1           0. 0 0
( 10/15/16) (0900) Rate: 100 MLS/HR
10/15/16    2002 FIREVAKN     y                                         1           0. 0 0
(10/15/16) (2100) Rate: 100 MLS/HR

10/16/16    0841 FIBEURKH     y                                         1           0.00
(10/16/16) (0900) Rate: 100 MLS/HR


  Adain Totals                                                          4                 0
            Case 2:18-cv-00924-PD         Document 15-5   Filed 05/03/18   Page 2 of 81

DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                          PAGE 62
USER: MT                       Medication Administration Summary

Patient                                       Responsible Doctor LITTMAN,MARIO, MD
Account Nwaber FA1307223089      Location    FI4PVA             Unit NWllber    F001250247
Age/Sex        37/M              Rooa        411                Registered Date 10/07/16
Status         DIS IN            Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                            (Continued)


CEFT2FRO - cefTRIAXone SODIUM 2 Gram /100 ML NSS PIGGYBACK - 100 ML

  Aclain Route IV
  Site
  Voluae       100          Rate 100 MIS/HR                      Duration 1 HR
  Start Date 10/17/16-0900         Stop Date None                 DC Date 10/22/16-1120
  Ordering Doctor      ZHANG,HONGYU MD
  Clinical Indication PULMONARY/LRTI
  Last Bag     6
  Total Dispensed      6           Total Costs $41.16              Total Charges $340.50
  Rx Nullber   001883693



  History
   10/16/16 1110 -   POM ORDER                     by COZHANGH
   10/16/16 1120 -   VERIFIED                      by FIJASINT
   10/17/16 0905 -   DEBIT                         by DMCCARTH
        ITEMS: 1       DOSES: 1
   10/18/16 0957 -   DEBIT                         by DGILMAN
        ITEMS: 1       DOSES: 1
   10/19/16 0803 -   DEBIT                         by DGILMAN
        ITEMS: 1       DOSES: 1
   10/20/16 0920 -   DEBIT                         by DGILMAN
        ITEMS: 1       DOSES: 1
   10/21/16 0932 -   DEBIT                         by DGILMAN
        ITEMS: 1       DOSES: 1
   10/22/16 0801 -   DEBIT                         by MCAVANAU
        ITEMS: 1       DOSES: 1
   10/22/16 1123 -   DISCONTINUE                   by COMANNR       Eff: 10/22/16 112 0
      EDIT DOCTOR:   MANN,RUPINDER K MD
      EDIT SOURCE:   Provider Source
Acbain Date Tim.e User      Given Bag Reason Code                 Items         Cha!Se
10/17/16    0911 FIMCCARD     y                                       1           0. 0 0
(10/17/16) (0900) Rate: 100 MLS/HR

10/18/16    0959 FIGILMAD     y                                       1            0.00
(10/18/16) (0900) Rate: 100 MLS/HR

10/19/16    09 0 2 FIG ILMAD  y                                       1            0. 0 0
(10/19/16) (0900) Rate: 100 MIS/HR
10/20/16    0924 FIGILMAD     y                                       1            0.00
(10/20/16) (0900) Rate: 100 MIS/HR

10/21/16    0944 FIGILMAD     y                                       1            0. 0 0
(10/21/16) (0900) Rate: 100 MIS/HR
             Case 2:18-cv-00924-PD      Document 15-5      Filed 05/03/18   Page 3 of 81

DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                            PAGE 63
USER: MT                       Medication Administration Summary

Patient                                        Responsible Doctor LITTMAN.MARIO, MD
Account Nu.her FA1307223089      Loc:;ation   FI4PVA             Unit NW1.ber    F001250247
Age/Sex        37/M              Roc:m.       411                Registered Date 10/07/16
Status         DIS IN            Bed          02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                             (Continued)

10/22/16    0811 FICAVANMl    Y                                         1           0. 0 0
(10/22/16) (0900) Rate: 100 MLS/HR


  Adm.in Totals                                                         6                 0


MAG2GMDRIP - MAGNESIUM SULFATE 2 GM/50 ML VATER - 50 ML

  Adain Route IV
  Site
  VolUlle     50           Rate 25 MLS/HR                         Duration 2 HR
  Start Date 10/16/16-1100        Stop Date 10/16/16 1259          DC Date 10/16/16-1259
  Ordering Doctor     ZHANG,HONGYU MD
  Last Bag    1
  Total Dispensed     1           Total Costs $5.30                 Total Charges $50.00
  Rx Nu:aber  001883697

  Discontinue CoJam.ents Reached Stop Date


  History
   10/16/16 1110 - POM ORDER                       by COZHANGH
   10/16/16 1121 - VERIFIED                        by FIJASINT
   10/16/16 1147 - DEBIT                           by HBEURI<ET
        ITEMS: 1     DOSES: 1
   10/16/16 1259 - DISCONTINUE                     by PHABKGJOB      Eff: 10/16/16 1259
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date

Adain Date Ti11.e User      Given Bag Reason Code                  Iten.s        Charge
10/16/16    1200 FIBEURKH     Y                                         1          0.00
(10/16/16) (1100) Rate: 25 MLS/HR


  Adm.in Totals                                                        1                  0
              Case 2:18-cv-00924-PD           Document 15-5      Filed 05/03/18   Page 4 of 81

DATE: ll/03/16 @ 0002               Mercy Fitzgerald Hospital PHA *LIVE*                          PAGE 64
USER: MT                             Medication Administration Summary

Patient                                              Resixinsible Doctor LITTMAN,MARIO, MD
Account Hllllher FA1307223089 ...     ic::iCaiion   FI4PVA              Unit Huaber     F001250247
Age/Sex          37/M                 ROOll         411                 Registered Date 10/07/16
Status           DIS IN               Bed           02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                     FA1307223089                              (Continued)


GENT40VI - GENTAMICIN SULFATE 80 MG/2 ML INJECTION - 120 MG (3 ML)
in SODI50IV12 - SODIUM CHLORIDE 0.9% 50 ML IV.SOLN - 50 ML

  Adain Route IV
  Site
  Voluae      53           Rate 100 MLS/HR                             Duration 31 MIN 48 SEC
  Start Date 10/20/16-1049        Stop Date None                        DC Date 10/25/16-1202
  Ordering Doctor     GILBERT,MARK, MD
  Clinical Indication BACTEREMIA
  Last Bag    15
  Total Dispensed     15          Total Costs $48.45                     Total Charges $1162.50
  Rx Nu:aber  001888813



  History
   10/20/16 1049 - ENTER                          by FIREALID
      Items Dispensed: 1       Doses Dispensed:   1
       For:    10/20/16 - 1300
   10/20/16 1049 - SYSTEM COPY AND EDIT           by FIREALID
      EDIT DOCTOR: GILBERT,MARK, MD
      FROM:
         RX ID: GENTAMICIN SULFATE 110 MG in SODIUM CHLORIDE 0.9% 50 ML
         START: 10/14/16-2100    STOP: None   SOFT STOP:
         LAST BAG: 18
         ADDITIVES:
           GENT40VI - GENTAMICIN SULFATE 80 MG/2 ML INJECTION - 110 MG (2.75 ML)
         ORDERED VOLUME: 52.75
         TOTAL VOLUME: 52.75
         DURATION: 31 MIN 39 SEC
      TO:
         RX ID: GENTAMICIN SULFATE 120 MG in SODIUM CHLORIDE 0.9% 50 ML
         START: 10/20/16-1049    STOP: None   SOFT STOP:
         LAST BAG: 1
         ADDITIVES:
           GENT40VI - GENTAMICIN SULFATE 80 MG/2 ML INJECTION - 120 MG (3 ML)
         ORDERED VOLUME: 53
         TOTAL VOLUME: 53
         DURATION: 31 MIN 48 SEC
   10/20/16 1049 - COPY AND EDIT                  by FIREALID
      FROM: Rx #001882464
   10/20/16 1445 - FILL                           by
      Items Dispensed: 1         Doses Dispensed: 1
      For:    10/20/16 - 2100
   10/20/16 2145 - FILL                           by
      Items Dispensed: 1         Doses Dispensed:    1
      For:    10/21/16 - 0500
   10/21/16 0705 - FILL                           by
      Items Dispensed: 1        Doses Dispensed:     1
            Case 2:18-cv-00924-PD        Document 15-5      Filed 05/03/18   Page 5 of 81

DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                          PAGE 65
USER: MT                       Medication Administration Summary

Patient                                         Responsible Doctor LITTMAN,MARIO, MD
Account Huaber.FAf3oi223o89     LOC:at.i..an   FI4PVA             Unit NWllber    F001250247
Age/Sex        37/M             Rooa           411                Registered Date 10/07/16
Status         DIS IN           Bed            02                 Discharged Date ll/O l/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                              (Continued)

      For:    10/21/16 - 1300
   10/21/16 1445 - FILL                         by
      Items Dispensed: 1        Doses Dispensed: 1
      For:    10/21/16 - 2100
   10/21/16 2145 - FILL                         by
      Items Dispensed: 1        Doses Dispensed: 1
      For:    10/22/16 - 0500
   10/22/16 0705 - FILL                         by
      Items Dispensed: 1        Doses Dispensed: 1
      For:    10/22/16 - 1300
   10/22/16 1445 - FILL                         by
      Items Dispensed: 1        Doses Dispensed: 1
      For:    10/22/16 - 2100
   10/22/16 2145 - FILL                         by
      Items Dispensed: 1        Doses Dispensed: 1
      For:    10/23/16 - 0500
   10/23/16 0705 - FILL                         by
      Items Dispensed: 1        Doses Dispensed: 1
      For:    10/23/16 - 1300
   10/23/16 1445 - FILL                         by
      Items Dispensed: 1        Doses Dispensed: 1
      For:    10/23/16 - 2100
   10/23/16 2145 - FILL                         by
      Items Dispensed: 1        Doses Dispensed: 1
      For:    10/24/16 - 0500
   10/24/16 0705 - FILL                         by
      Items Dispensed: 1        Doses Dispensed: 1
      For:    10/24/16 - 1300
   10/24/16 1445 - FILL                         by
      Items Dispensed: 1        Doses Dispensed: 1
      For:    10/24/16 - 2100
   10/24/16 2145 - FILL                         by
      Items Dispensed: 1        Doses Dispensed: 1
      For:    10/25/16 - 0500
   10/25/16 0446 - DEBIT                        by FISACI<SM
         ITEMS: 1
   10/25/16 0500 - CREDIT                       by FISACKSM
         ITEMS: 1
   10/25/16 0705 - FILL                         by
      Items Dispensed: 1        Doses Dispensed: 1
      For:    10/25/16 - 1300
   10/25/16 1203 - DISCONTINUE                  by COGILBEM          Eff: 10/25/16 120 2
         Items Auto Credited: 1    Doses Auto Credited: 1
         For:   10/25/16 - 1300
      EDIT DOCTOR: GILBERT,MAR~, MD
      EDIT SOURCE: Provider Source

Ad.Jain Date Tia.e User     Given Bag Reason Code                  I tells        Charge
10/20/16     1429 FIGILMAD    Y                                         1           0.00
(10/20/16) (1300) Rate: 100 MLS/HR
            Case 2:18-cv-00924-PD      Document 15-5     Filed 05/03/18    Page 6 of 81

DATE: 11/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                          PAGE 66
USER: MT                       Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN,MARIO, MD
Account Hwtber FA1307223089     Location    FI4PVA             Unit Hum.her    F001250247
Age/Sex        37/M             Rooa        411                Registered Date 10/07/16
Status         DIS IN           Bed         02                 Discharged Date 11/01/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                           (Continued)


10/20/16    2208 FIDONAHS     Y                                      1            0.00
(10/20/16) (2100) Rate: 100 MLS/HR

10/21/16    0458 FIKRETZJ     Y                                      1            0.00
(10/21/16) (0500) Rate: 100 MLS/HR

10/21/16    1416 FIGILMAD     Y                                      1            0.00
(10/21/16) (1300) Rate: 100 MLS/HR

10/21/16    2116 FIDONAHS     Y                                      1            0. 0 0
(10/21/16) (2100) Rate: 100 MLS/HR

10/22/16    0457 FIKRETZJ     Y                                      1            0.00
(10/22/16) (0500) Rate: 100 MLS/HR

10/22/16    1340 FICAVANMl    Y                                      1            0. 0 0
(10/22/16) (1300) Rate: 100 MLS/HR

10/22/16    2118 FIDONAHS     Y                                      1            0.00
(10/22/16) (2100) Rate: 100 MLS/HR

10/23/16    0528 FIDONAHS     Y                                      1            0. 0 0
(10/23/16) (0500) Rate: 100 MLS/HR

10/23/16    1315 FICAVANM1    Y                                      1            0.00
(10/23/16) (1300) Rate: 100 MLS/HR

10/23/16    2042 FIROSSIA     Y                                      1            0.00
(10/23/16) (2100) Rate: 100 MLS/HR

10/24/16    0535 FIROSSIA     Y                                      1            0. 0 0
(10/24/16) (0500) Rate: 100 MLS/HR

10/24/16    1300 FIGILMAD     N        PU
(10/24/16) (1300) Rate: 0 MLS/HR

10/24/16    2035 FIVOUNGS     Y                                      1            0. 0 0
(10/24/16) (2100) Rate: 100 MLS/HR

10/25/16    0517 FIBURKEC     Y                                      1            0. 0 0
(10/25/16) (0500) Rate: 100 MLS/HR


  Admin Totals                                                     14                   0
             Case 2:18-cv-00924-PD      Document 15-5      Filed 05/03/18   Page 7 of 81

DATE: ll/03/16 @ 0002           Mercy Fitzgerald Hospital PHA *LIVE*                       PAGE 67
USER: MT                         Medication Administration Summary

Patient                                       Responsible Doctor LITTMAN.MARIO, MD
Account Hllltber FA1307223089     Location   FI4PVA             Unit Nu.her     F001250247
Age/Sex          37/M             RCXJa      411                Registered Date 10/07/16
Status           DIS IN           Bed        02                 Discharged Date ll/Ol/16
EFUNNUGA,OLUTOKUNBO                 FA1307223089                            (Continued)

METR500P4 - metroNIDAZOLE/NS 500 MG/100 ML PIGGYBACK - 100 ML

  Admin Route IV
  Site
  Volwae      100          Rate 200 MLS/HR                       Duration 30 MIN
  Start Date 10/20/16-2100        Stop Date None                  DC Date 10/26/16-1555
  Ordering Doctor     GEVORGYAN,DAVID MD
  Clinical Indication INFECTION - UNSPECIFIED
  Last Bag    17
  Total Dispensed     17          Total Costs $23.97               Total Charges $850.00
  Rx Nuaber   001889328



  History
   10/20/16 1916 - POM ORDER                       by COGEVORD
   10/20/16 1919 - VERIFIED                        by FIL INC
   10/20/16 1922 - DEBIT                           by SDONAHUE
        ITEMS: 1     DOSES: 1
   10/21/16 0455 - DEBIT                           by JKRETZ
        ITEMS: 1     DOSES: 1
   10/21/16 1209 - DEBIT                           by DGILMAN
        ITEMS: 1     DOSES: 1
   10/21/16 1947 - DEBIT                           by SDONAHUE
        ITEMS: 1     DOSES: 1
   10/22/16 0457 - DEBIT                           by JKRETZ
        ITEMS: 1     DOSES: 1
   10/22/16 1205 - DEBIT                           by MCAVANAU
        ITEMS: 1     DOSES: 1
   10/22/16 2003 - DEBIT                           by SDONAHUE
        ITEMS: 1     DOSES: 1
   10/22/16 2207 - DEBIT                           by SDONAHUE
        ITEMS: 1     DOSES: 1
   10/23/16 1234 - DEBIT                           by MCAVANAU
        ITEMS: 1     DOSES: 1
   10/23/16 2037 - DEBIT                           by AROSSINO
        ITEMS: 1     DOSES: 1
   10/24/16 0354 - DEBIT                           by AROSSINO
        ITEMS: 1     DOSES: 1
   10/24/16 2031 - DEBIT                           by SYOUNG
        ITEMS: 1     DOSES: 1
   10/25/16 0511 - DEBIT                           by CBURKE
        ITEMS: 1     DOSES: 1
   10/25/16 1214 - DEBIT                           by DGILM.AN
        ITEMS: 1     DOSES: 1
   10/25/16 2027 - DEBIT                           by SYOUNG
        ITEMS: 1     DOSES: 1
   10/26/16 0439 - DEBIT                           by VDAMATO
        ITEMS: 1     DOSES: 1
            Case 2:18-cv-00924-PD         Document 15-5      Filed 05/03/18    Page 8 of 81

DATE: ll/03/16 @ 0002           Mercy Fitzgerald Hospital PHA *LIVE*                            PAGE 68
USER: MT                         Medication Administration Summary

Patient                                           Responsible Doctor LITTMAN.MARIO, MD
Account Hllllher FA1307223089        Location    FI4PVA             Unit Nu.her     F001250247
Age/Sex          37/M                Rooa        411                Registered Date 10/07/16
Status           DIS IN              Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                    FA1307223089                            (Continued)

   10/26/16 1331 -    DEBIT                            by DGILMAN
        ITEMS: 1        DOSES: 1
   10/26/16 1557 -    DISCONTINUE                      by COMANNR      Eff: 10/26/16 1555
      EDIT DOCTOR:    MANN,RUPINDER K MD
      EDIT SOURCE:    Provider Source

Adm.in Date Tiae User       Given Bag Reason Code                    I tells         Charqe
10/20/16    2051 FIDONAHS     y                                            1           0. 0 0
(10/20/16) (2100) Rate: 200 MIS/HR

10/21/16    0457 FII<RETZJ    y                                           1            0.00
(10/21/16) (0500) Rate: 200 MIS/HR

10/21/16    1215 FIG ILMAD    y                                           1            0.00
(10/21/16) (1300) Rate: 200 MLS/HR

10/21/16    2001 FIDONAHS     y                                           1            0. 0 0
(10/21/16) (2100) Rate: 200 MIS/HR
10/22/16    0457 FII<RETZJ    y                                           1            0.00
(10/22/16) (0500) Rate: 200 MIS/HR

10/22/16     1206 FICAVANMl    y                                          1            0.00
(10/22/16) ( 1300) Rate: 200 MIS/HR

10/22/16    2016 FIDONAHS     y                                           1            0. 0 0
(10/22/16) (2100) Rate: 200 MLS/HR

10/23/16    0513 FIDONAHS     y                                           1            0.00
(10/23/16) (0500) Rate: 200 MLS/HR

10/23/16      1247 FICAVANMl    y                                         1            0. 0 0
( 10/23/16) ( 1300) Rate: 200 MIS/HR

10/23/16    2 0 4 3 F IROSS!Ji. y                                         1            0. 0 0
(10/23/16) (2100) Rate: 200 MIS/HR

10/24/16    0507 FIROSSIA    y                                            1            0. 0 0
(10/24/16) (0500) Rate: 200 MLS/HR

10/24/16     1300 FIGILMAD     N            PU
(10/24/16) ( 1300) Rate: 0 MLS/HR

10/24/16    2035 FIYOUNGS    y                                            1            0.00
(10/24/16) (2100) Rate: 200 MLS/HR

10/25/16    0516 FIBURKEC     y                                           1            0. 0 0
(10/25/16) (0500) Rate: 200 MIS/HR

10/25/16     121 9 FIG ILMAD     y                                        1            0.00
              Case 2:18-cv-00924-PD       Document 15-5     Filed 05/03/18    Page 9 of 81

DATE: 11/03/16 @ 0002            Mercy Fitzgerald Hospital PHA *LIVE*                          PAGE 69
USER: MT                          Medication Administration Summary

Patient                                        Responsible Doctor LITTMAN.MARIO, MD
Account Hllllher .FAf3bi223089     Location   FI4PVA             Unit Hwaber     F001250247
Age/Sex           37/M             Room.      411                Registered Date 10/07/16
Status            DIS IN           Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                  FA1307223089                            (Continued)

(10/25/16) ( 13 0 0) Rate: 200 MLS/HR

10/25/16    2038 FIYOUNGS     y                                          1           0. 0 0
(10/25/16) (2100) Rate: 200 MLS/HR

10/26/16    0514 FIDAMATV     y                                          1           0.00
(10/26/16) (0500) Rate: 200 MLS/HR

10/26/16    1405 FIGILMAD    y                                           1           0. 0 0
(10/26/16) (1300) Rate: 200 MLS/HR


  Adm.in Totals                                                         17                 0


MET02.5PB - METOPROLOL TARTRATE 2.5 MG/SO ML PIGGYBACK -      50 ML

  Admin Route IV
  Site
  Voluae      50           Rate 100 MLS/HR                        Duration 30 MIN
  Start Date 10/21/16-0130        Stop Date 10/21/16 0159          DC Date 10/21/16-0132
  Ordering Doctor     GEVORGYAN,DAVID MD
  Last Bag    1
  Total Dispensed     2           Total Costs $3.96                   Total Charges $100.00
  Rx Number   001889520



  History
   10/21/16 0121 - POM ORDER                        by COGEVORD
   10/21/16 0122 - VERIFIED                         by FISPERAR
      Items Dispensed: 1       Doses Dispensed:     1
       For:    10/21/16 - 0130
   10/21/16 0127 - DEBIT                            by FISPERAR
         ITEMS: 1
   10/21/16 0132 - DISCONTINUE                      by COGEVORD       Ef f: 10/21/16 013 2
      EDIT DOCTOR: GEVORGYAN,DAVID MD
      EDIT SOURCE: Provider Source

.A.chi.in Date Tia.a User    Given Bag Reason Code                 Iten.s          Charge
10/21/16       0206 FIKRETZJ   N       DC
 (10/21/16) (0130) Rate: 0 MLS/HR


  Ada.in Totals
            Case 2:18-cv-00924-PD      Document 15-5      Filed 05/03/18   Page 10 of 81

DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                           PAGE 70
USER: MT                       Medication Administration Summary

Patient                                        Responsible Doctor LITTMAN.MARIO, MD
Account Huaber FA1307223089      Location     FI4PVA             Unit Nwaber     F001250247
Age/Sex        37/M              Rooa         411                Registered Date 10/0 7/16
Status         DIS IN            Bed          02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                            (Continued)


MET02.5PB - METOPROLOL TARTRATE 2.5 MG/50 ML PIGGYBACK - 50 ML

  Admin Route IV
  Site
  Voluae      50           Rate 100 MLS/HR                       Duration 30 MIN
  Start Date 10/21/16-0510        Stop Date 10/21/16 0539         DC Date 10/21/16-0539
  Ordering Doctor     PATEL,SANSKRUTI MD
  Last Bag    1
  Total Dispensed     1           Total Costs Sl.98                Total Charges $50.00
  Rx Nu:aber  001889595

  Discontinue CoD.JD.ents Reached Stop Date


  History
   10/21/16 0459 - POM ORDER                    by COPATESA
   10/21/16 0505 - EDIT                         by FISPERAR
      EDIT DOCTOR: PATEL,SANSKRUTI MD
      FROM:
         START: 10/21/16-0500   STOP: 10/21/16 0529    SOFT STOP:
      TO:
         START: 10/21/16-0510   STOP: 10/21/16-0539    SOFT STOP:
   10/21/16 0505 - VERIFIED                     by FISPERAR
      Items Dispensed: 1       Doses Dispensed: 1
       For:    10/21/16 - 0510
   10/21/16 0539 - DISCONTINUE                  by PHABKGJOB      Eff: 10/21/16 0539
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
           Reached Stop Date

Adm.in Date Ti11.e User     Given Bag Reason Code                 Iten.s        Charge
10/21/16    0517 FIKRETZJ     Y                                       1           0.00
(10/21/16) (0510) Rate: 100 MLS/HR


  Act.in Totals                                                       1                  0
              Case 2:18-cv-00924-PD        Document 15-5     Filed 05/03/18   Page 11 of 81

DATE: ll/03/16 @ 0002            Mercy Fitzgerald Hospital PHA *LIVE*                           PAGE 71
USER: MT                          Medication Administration Summary

Patient                                           Responsible Doctor LITTMAN,MARIO, MD
Account Nu.her FA1307223089 ········· Location   FI4PVA             Unit Num.ber    F001250247
Age/Sex        37/M                   Rooa       411                Registered Date 10/07/16
Status         DIS IN                 Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                   FA1307223089                            (Continued)


CEFElPIG - CEFEPIME HCL 1 Gram/50 ML NSS PIGGYBACK - 50 ML

  Adain Route IV
  Site
  Volwae      50           Rate 100 MLS/HR                           Duration 30 MIN
  Start Date 10/22/16-1700        Stop Date None                      DC Date 10/26/16-1419
  Ordering Doctor     MANN,RUPINDER K MD
  Clinical Indication PULMONARY/LRTI
  Last Bag    14
  Total Dispensed     17          Total Costs $451.52                  Total Charges $3723.00
  Rx Nuaber   001890972



  History
   10/22/16 1123 -    POM ORDER                        by COMANNR
   10/22/16 1125 -    VERIFIED                         by FIL INC
   10/22/16 1205 -    DEBIT                            by MCAVANAU
        ITEMS: 1        DOSES: 1
   10/22/16 1845 -    DEBIT                           by MCAVANAU
        ITEMS: 1        DOSES: 1
   10/22/16 2003 -    DEBIT                            by SDONAHUE
        ITEMS: 1        DOSES: 1
   10/22/16 2207 -    DEBIT                            by SDONAHUE
        ITEMS: 1        DOSES: 1
   10/23/16 1109 -    DEBIT                           by MCAVANAU
        ITEMS: 1        DOSES: 1
   10/23/16 1650 -    DEBIT                           by MCAVANAU
        ITEMS: 1        DOSES: 1
   10/23/16 1703 -    DEBIT                           by MCAVANAU
        ITEMS: 1        DOSES: 1
   10/23/16 2036 -    DEBIT                           by AROSSINO
        ITEMS: 1        DOSES: 1
   10/24/16 0353 -    DEBIT                           by AROSSINO
        ITEMS: 1        DOSES: 1
   10/24/16 1739 -    DEBIT                           by SYOUNG
        ITEMS: 1        DOSES: 1
   10/24/16 2031 -    DEBIT                           by SYOUNG
        ITEMS: 1        DOSES: 1
   10/25/16 0511 -    DEBIT                           by CBURKE
        ITEMS: 1        DOSES: 1
   10/25/16 1214 -    DEBIT                           by DGILMAN
        ITEMS: 1        DOSES: 1
   10/25/16 1613 -    DEBIT                           by SYOUNG
        ITEMS: 1        DOSES: 1
   10/25/16 2027 -    DEBIT                           by SYOUNG
        ITEMS: 1        DOSES: 1
   10/26/16 0439 -    DEBIT                           by VDAMATO
        ITEMS: 1        DOSES: 1
              Case 2:18-cv-00924-PD            Document 15-5     Filed 05/03/18   Page 12 of 81

DATE: ll/03/16 @ 0002             Mercy Fitzgerald Hospital PHA *LIVE*                             PAGE 72
USER: MT                           Medication Administration Summary

Patient                                              Responsible Doctor LITTMAN.MARIO, MD
Account Hllllher FA1307223089           Location    FI4PVA             Unit Hu.her     F001250247
Age/Sex          37/M                   Rooa        411                Registered Date 10/07/16
Status           DIS IN                 Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                       FA1307223089                            (Continued)

   10/26/16 1207 -    DEBIT                               by DGILMAN
        ITEMS: 1        DOSES: 1
   10/26/16 1424 -    DISCONTINUE                         by COGILBEM     Ef f: 10/26/16 1419
      EDIT DOCTOR:    GILBERT.MARK, MD
      EDIT SOURCE:    Provider Source

Adain Date Tim.e User       Given Bag Reason Code                       IteJts          Charge
10/22/16    1849 FICAVANMl    y                                              1            0.00
(10/22/16) (1700) Rate: 100 MLS/HR

10/22/16     2319 FIDONAHS     y                                            1             0. 0 0
( 10/22/16) (2300) Rate: 100 MLS/HR

10/23/16     0500 FIDONAHS     y                                            1             0. 0 0
( 10/23/16) (0500) Rate: 100 MLS/HR

10/23/16    1116 FICAVANMl    y                                             1             0. 0 0
(10/23/16) (1100) Rate: 100 MLS/HR

10/23/16     1703 FICAVANMl          y                                      1             0.00
(10/23/16) ( 1 7 0 0 ) Rate : 10 0 MLS/HR

10/23/16    2212 FIROSSIA     y                                             1             0.00
(10/23/16) (2300) Rate: 100 MLS/HR

10/24/16    0507 FIROSSIA     y                                             1             0.00
(10/24/16) (0500) Rate: 100 MLS/HR

10/24/16    1100 FIGILMAD     N                PU
(10/24/16) (1100) Rate: 0 MLS/HR

10/24/16    1746 FIYOUNGS     y                                             1             0.00
(10/24/16) (1700) Rate: 100 MLS/HR

10/24/16     2201 FIYOUNGS     y                                            1             0.00
( 10/24/16) (2300) Rate: 100 MLS/HR
10/25/16    0517 FIBURKEC     y                                             1             0.00
(10/25/16) (0500) Rate: 100 MLS/HR

10/25/16    1219 FIGILMAD     y                                             1             0. 0 0
(10/25/16) (1100) Rate: 100 MLS/HR

10/25/16    1631 FIYOUNGS     y                                             1             0. 0 0
(10/25/16) (1700) Rate: 100 MLS/HR

10/25/16    2205 FIYOUNGS     y                                             1             0. 0 0
(10/25/16) (2300) Rate: 100 MLS/HR

10/26/16      0514 FIDAMATV         y                                       1             0. 0 0
            Case 2:18-cv-00924-PD        Document 15-5   Filed 05/03/18   Page 13 of 81

DATE: ll/03/16 @ 0002          Mercy Fitzgerald Hospital PHA *LIVE*                         PAGE 73
USER: MT                        Medication Administration Summary

Patient                                       Responsible Doctor LITTMAN,MARIO, MD
Account Hu.ber.FAi3oi223o89      Location    FI4PVA             Unit Hum.her    F001250247
Age/Sex         37/M             Rooa        411                Registered Date 10/07/16
Status          DIS IN           Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                           (Continued)

(10/26/16) (0500) Rate: 100 MLS/HR

10/26/16    1226 FIGILMAD     Y                                       1           0.00
(10/26/16) {1100) Rate: 100 MLS/HR


  Achain Totals                                                     15                  0


PROP10VI7 - PROPOFOL 200 MG/20 ML INJECTION - 20 ML

  Achain Route .ROUTE
  Site
  Voluae       20          Rate UD                              Duration UD
  Start Date 10/24/16-1017         Stop Date 10/24/16 1018       DC Date 10/24/16-1018
  Ordering Doctor      DOCTOR.PYXIS OVERRIDE
  Last Bag     1
  Total Dispensed      1           Total Costs Sl.03              Total Charges $40.00
  Rx Nuaber    001892540

  Discontinue Colllllents DC'd by DHIN


  History
   10/24/16 1019 - DISCONTINUE                    by STK MED       Eff: 10/24/16 1018
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          DC'd by DHIN
   10/24/16 1019 - OV INV PHA                     by DHIN
            Case 2:18-cv-00924-PD          Document 15-5    Filed 05/03/18     Page 14 of 81

DATE: ll/03/16 @ 0002           Mercy Fitzgerald Hospital PHA *LIVE*                           PAGE 74
USER: MT                         Medication Administration Summary

Patient                                          Res1x:msible Doctor LITTMAN,MARIO, MD
Account Hllllher.FAi3bi223b89     :Loc:aii.on   FI4PVA              Unit Nuaber     F001250247
Age/Sex          37/M             RCXlll        411                 Registered Date 10/07/16
Status           DIS IN           Bed           02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                  FA1307223089                              (Continued)


PROP10VI7 - PROPOFOL 200 MG/20 ML INJECTION - 40 ML

  Achain Route .ROUTE
  Site
  Voluae       40          Rate UD                                 Duration UD
  Start Date 10/25/16-1053         Stop Date 10/25/16 1054          DC Date 10/25/16-1054
  Ordering Doctor
  Last Bag     2
  Total Dispensed      2           Total Costs $2.06                 Total Charges $40.00
  Rx Nuaber    001893685

  Discontinue Com.Ji.ents DC'd by DHIN


  History
   10/25/16 1054 - OV INV PHA                         by DHIN
   10/25/16 1054 - DISCONTINUE                        by STK MED      Ef f:   10/25/16 105 4
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          DC'd by DHIN
           Case 2:18-cv-00924-PD      Document 15-5     Filed 05/03/18    Page 15 of 81

DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                         PAGE 75
USER: MT                       Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN.MARIO, MD
Account Hu.her FA1307223089      Location   FI4PVA             Unit Num.ber    F001250247
Age/Sex        37/M              Roca       411                Registered Date 10/07/16
Status         DIS IN            Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                           (Continued)


CEFT2FRO - cefTRIAXone SODIUM 2 Gram /100 ML NSS PIGGYBACK - 100 ML

  Admin Route IV
  Site
  VoltD.e     100          Rate 100 MLS/HR                       Duration 1 HR
  Start Date 10/27/16-0900        Stop Date None                  DC Date ll/Ol/16-2054
  Ordering Doctor     GILBERT.MARK. MD
  Clinical Indication BACTEREMIA
  Last Bag    6
  Total Dispensed     6           Total Costs $41.16               Total Charges $340.50
  Rx Nulllber 001894936

  Discontinue Comments DC'd by Discharge


  History
   10/26/16 1424 - POM ORDER                      by COGILBEM
   10/26/16 1426 - VERIFIED                       by FIL INC
   10/27/16 0819 - DEBIT                          by MMAXWELL
        ITEMS: 1     DOSES: 1
   10/28/16 0829 - DEBIT                          by NC ARTER
        ITEMS: 1     DOSES: 1
   10/29/16 0841 - DEBIT                          by MHALLAMY
        ITEMS: 1     DOSES: 1
   10/30/16 0732 - DEBIT                          by ABLE ILER
        ITEMS: 1     DOSES: 1
   10/31/16 0846 - DEBIT                          by KM OSLEY
        ITEMS: 1     DOSES: 1
   11/01/16 1025 - DEBIT                          by MHALLAMY
        ITEMS: 1     DOSES: 1
   11/01/16 2055 - DISCONTINUE                    by DISCHARGE     Eff: 11/01/16 205 4
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          DC'd by Discharge

.Acbtin Date Ti•e User       Given Bag Reason Code                Items         Charqe
10/27/16     0826 FIMAXWEM     y                                      1           0. 0 0
 (10/27/16) (0900) Rate: 100 MLS/HR

10/28/16    0 8 32 FI CARTEN  y                                       1           0.00
(10/28/16) (0900) Rate: 100 MLS/HR

10/29/16    0902 FIHALLAM     y                                       1           0. 0 0
(10/29/16) (0900) Rate: 100 MLS/HR

10/30/16    0820 FIBLEILA     y                                       1           0.00
(10/30/16) (0900) Rate: 100 MLS/HR
           Case 2:18-cv-00924-PD     Document 15-5     Filed 05/03/18   Page 16 of 81

DATE: ll/03/16 @ 0002       Mercy Fitzgerald Hospital PHA *LIVE*                          PAGE 76
USER: MT                     Medication Administration Summary

Patient                                     Responsible Doctor LITTMAN,MARIO, MD
Account HUJlber FAi307223089.   Location   FI4PVA             Unit Number     F001250247
Age/Sex         37/M            Rooa       411                Registered Date 10/07/16
Status          DIS IN          Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO               FA1307223089                          (Continued)


10/31/16    0856 FIMOSLEK     Y                                    1            0. 0 0
(10/31/16) (0900) Rate: 100 MLS/HR

ll/Ol/16    1035 FIHALLAM    Y                                     1            0. 0 0
(ll/Ol/16) (0900) Rate: 100 MLS/HR


  Admin Totals                                                     6                  0
            Case 2:18-cv-00924-PD       Document 15-5      Filed 05/03/18   Page 17 of 81

DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                           PAGE 77
USER: MT                       Medication Administration Summary

Patient                                        Responsible Doctor LITTMAN.MARIO, MD
Account Nwaber FA1307223089        Location   FI4PVA             Unit Hum.her    F001250247
Age/Sex        37/M                Rao•       411                Registered Date 10/07/16
Status         DIS IN              Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                  FA1307223089                           (Continued)


METR500P4 - metroNIDAZOLE/NS 500 MG/100 ML PIGGYBACK - 100 ML

  Admin Route IV
  Site
  Voluae      100          Rate 200 MLS/HR                         Duration 30 MIN
  Start Date 10/26/16-2100        Stop Date None                    DC Date 10/28/16-1713
  Ordering Doctor     MANN,RUPINDER K MD
  Clinical Indication PULMONARY/LRTI
  Last Bag    6
  Total Dispensed     6           Total Costs $8.46                  Total Charges $300.00
  Rx Nu:aber  001895067



  History
   10/26/16 1602 - POM ORDER                        by COMANNR
   10/26/16 1609 - VERIFIED                         by FIREALID
   10/26/16 2119 - DEBIT                            by MM CG ILL
        ITEMS: 1     DOSES: 1
   10/27/16 0459 - DEBIT                            by VDAMATO
        ITEMS: 1     DOSES: 1
   10/27/16 1452 - DEBIT                            by JSTASKY
        ITEMS: 1     DOSES: 1
   10/27/16 2146 - DEBIT                            by JDESALVO
        ITEMS: 1     DOSES: 1
   10/28/16 0531 - DEBIT                            by AGARDOSE
        ITEMS: 1     DOSES: 1
   10/28/16 1221 - DEBIT                            by NC ARTER
        ITEMS: 1     DOSES: 1
   10/28/16 1719 - DISCONTINUE                      by COGILBEM       Eff: 10/28/16 1713
      EDIT DOCTOR: GILBERT, MARK, MD
      EDIT SOURCE: Provider Source
   10/28/16 1719 - POM COPY AND EDIT                by COGILBEM
      TO: Rx #U001146182

AdJ&in Date Time User       Given Bag Reason Code                   Items         Charge
10/26/16    2146 FIMCGILM     y                                         1           0.00
(10/26/16) (2100) Rate: 200 MLS/HR

10/27/16    0541 FIDAMATV     y                                         1           0.00
(10/27/16) (0500) Rate: 200 MLS/HR

10/27/16     1510 FISTASKJ     y                                        1           0.00
(10/27/16) ( 1300) Rate: 200 MLS/HR

10/27/16     2100 FIDESALJ     N          REFUSED
( 10/27/16) (2100) Rate: 0 MLS/HR

10/28/16    0531 FIGARDOA      y                                        1           0. 0 0
           Case 2:18-cv-00924-PD      Document 15-5    Filed 05/03/18    Page 18 of 81

DATE: 11/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                         PAGE 78
USER: MT                       Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN,MARIO, MD
Account Hwaber FA1307223089     Loca.tion   FI4PVA             Unit Hwaber     F001250247
Age/Sex          37/M           Rooa        411                Registered Date 10/07/16
Status           DIS IN         Bed         02                 Discharged Date 11/01/16

EFUNNUGA,OLUTOKUNBO               FA1307223089                           (Continued)

(10/28/16) (0500) Rate: 200 MLS/HR

10/28/16    1222 FICARTEN     Y                                      1           0. 0 0
(10/28/16) (1300) Rate: 200 MLS/HR


  Adain Totals                                                       5                 0
           Case 2:18-cv-00924-PD            Document 15-5   Filed 05/03/18    Page 19 of 81

DATE: 11/03/16 @ 0002           Mercy Fitzgerald Hospital PHA *LIVE*                           PAGE 79
USER: MT                         Medication Administration Summary

Patient                                          Responsible Doctor LITTMAN,MARIO, MD
Account Hllllher FAf3o7223089   · iocati;;n     FI4PVA             Unit Nu..ber    F001250247
Age/Sex          37/M                Rooa       411                Registered Date 10/07/16
Status           DIS IN              Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                   FA1307223089                            (Continued)


METR500P4 - metroNIDAZOLE/NS 500 MG/100 ML PIGGYBACK - 100 ML

  Adain Route IV
  Site
  Volume      100          Rate 200 MLS/HR                           Duration 30 MIN
  Start Date 10/28/16-2100        Stop Date 10/31/16 0600             DC Date 10/31/16-0600
  Ordering Doctor     GILBERT,MARK, MD
  Clinical Indication PULMONARY/LRTI
  Last Bag    8
  Total Dispensed     9           Total Costs $12.69                   Total Charges $450.00
  Rx Nu:aber  001897013

  Discontinue Coam.ents Reached Stop Date


  History
   10/28/16 1719 - POM COPY AND EDIT                  by COGILBEM
      FROM: Rx #001895067
   10/28/16 1724 - VERIFIED                           by FIANDERC
   10/28/16 2119   DEBIT                              by JAEKIM
        ITEMS: 1     DOSES: 1
   10/29/16 0438   DEBIT                              by JAEKIM
        ITEMS: 1     DOSES: 1
   10/29/16 1315   DEBIT                              by MHALLAMY
        ITEMS: 1     DOSES: 1
   10/29/16 2058   DEBIT                              by KS KANE
        ITEMS: 1     DOSES: 1
   10/30/16 0555   DEBIT                              by KS KANE
        ITEMS: 1     DOSES: 1
   10/30/16 1206   DEBIT                              by ABLE ILER
        ITEMS: 1     DOSES: 1
   10/30/16 2015   DEBIT                              by DTAGOE
        ITEMS: 1     DOSES: 1
   10/30/16 2059   DEBIT                              by DTAGOE
        ITEMS: 1     DOSES: 1
   10/31/16 0351 - DEBIT                              by DTAGOE
        ITEMS: 1     DOSES: 1
   10/31/16 0600 - DISCONTINUE                        by PHABKGJOB      Eff: 10/31/16 0600
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date

Adain Date Tiae User        Given Bag Reason Code                     Items         Charge
10/28/16    2127 FIKIMJ       Y                                           1           0.00
(10/28/16) (2100) Rate: 200 MLS/HR

             0444 FIIGMJ         y                                        1           0. 0 0
             Case 2:18-cv-00924-PD          Document 15-5   Filed 05/03/18   Page 20 of 81

DATE: ll/03/16 @ 0002           Mercy Fitzgerald Hospital PHA *LIVE*                           PAGE 80
USER: MT                         Medication Administration Summary

Patient                                         Responsible Doctor LITTMAN.MARIO, MD
Account HUB.her FAi:fo7223089   ··   i~tion    FI4PVA             Unit Huaber     F001250247
lge/Sex         37/M                 Room      411                Registered Date 10/07/16
Status          DIS IN               Bed       02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                   FA1307223089                           (Continued)

(10/29/16) (0500) Rate: 200 MLS/HR

10/29/16      1327 FIHAlLAM     y                                      1             0.00
( 10/29/16) ( 1300) Rate: 200 MLS/HR

10/29/16     2209 FISKANEK     y                                       1             0. 0 0
( 10/29/16) (2100) Rate: 200 MLS/HR

10/30/16    0615 FISKANEK     y                                        1             0. 0 0
(10/30/16) (0500) Rate: 200 MLS/HR

10/30/16    1210 FIBLEILA    y                                         1             0. 0 0
(10/30/16) (1300) Rate: 200 MLS/HR

10/30/16    2059 FITAGOED     y                                        1             0. 0 0
(10/30/16) (2100) Rate: 200 MLS/HR

10/31/16    0401 FITAGOED     y                                        1             0.00
(10/31/16) (0500) Rate: 200 MLS/HR


  Achain Totals                                                        8                   0


MIDA1VIA13 - Midazolam HCl/Pf 2 MG/2 ML INJECTION

  Dose        4 MG (4 Ml)
  Admin Route .ROUTE
  Start Date 10/07/16-0724        Stop Date 10/07/16 0725          DC Date 10/07/16-0725
  Ordering Doctor     DOCTOR.PYXIS OVERRIDE
  Total Dispensed     2           Total Costs S0.58                 Total Charges SS.OD
  Rx Nuaber   001873781

  Discontinue Colllll.ents DC'd by JMARTIN


  History
   10/07/16 0719 - DISCONTINUE                       by STK MED      Eff: 10/07/16 072 5
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          DC'd by JMARTIN
   10/07/16 0719 - OV INV PHA                        by JMARTIN
               Case 2:18-cv-00924-PD          Document 15-5       Filed 05/03/18    Page 21 of 81

DATE: ll/03/16 @ 0002            Mercy Fitzgerald Hospital PHA *LIVE*                               PAGE 81
USER: MT                          Medication Administration Summary

Patient                                             Responsible Doctor LITTMAN.MARIO, MD
Account Humber FA1307223089            LOC:ation   FI4PVA             Unit Number     F001250247
Age/Sex        37/M                    Roca        411                Registered Date 10/07/16
Status         DIS IN                  Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                      FA1307223089                              (Continued)


FENT0.0533 - fentaNYL CITRATE/PF 100 MCG/2 ML

  Dose         50 MCG (1 ML)
  Dose  Instruction    IVP FOR CRITICAL CARE UNITS AND 5-SOUTH ONLY
  Adm.in Route IV
  Frequency    Q2H (PRN) PAR= PRN REASON: RASS goal -1/-2
  Start Date 10/07/16-0830         Stop Date None             DC Date 10/13/16-2311
  Ordering Doctor      BORIKAR,MADHURA S MD
  Total Dispensed      6           Total Costs Sl.62           Total Charges $13.50
  Rx Nullber   001873868



  History
   10/07/16 0821 - POM ORDER                             by COBORIKM
   10/07/16 0828 - VERIFIED                              by FIJASINT
   10/09/16 1828 - DEBIT                                 by MB RIGHT
        ITEMS: 1     DOSES: 1
   10/10/16 0254 - DEBIT                                 by DMCDEVITT
        ITEMS: 1     DOSES: 1
   10/12/16 1110 - DEBIT                                 by LHOKE
        ITEMS: 1     DOSES: 1
   10/13/16 0120 - DEBIT                                 by VDAMATO
        ITEMS: 1     DOSES: 1
   10/13/16 1538 - DEBIT                                 by MM CG ILL
        ITEMS: 1     DOSES: 1
   10/13/16 2024 - DEBIT                                 by MM CG ILL
        ITEMS: 1     DOSES: 1
   10/13/16 2311 - DISCONTINUE                           by COBORIKM       Eff: 10/13/16 2311
      EDIT DOCTOR: BORIKAR,MADHURA S MD
      EDIT SOURCE: Provider Source
   10/13/16 2311 - POM COPY AND EDIT                     by COBORIKM
      TO: Rx #U001136551

Ad11.in Date   Ti11.e User       Given Bag Reason Cc:xle                Iten.s           Charge
10/0'SV16      1829 FIBRIGHM        y                                        1
                       Dose: 50 MCG
10/10/16       0429 FIMCDEVD      y                                          1
                     Dose: 50 MCG
10/12/16       1113 FIHOKEL       y                                          1
                     Dose: 50 MCG

10/13/16       0201 FIDAMATV       y                                         1
                      Dose: 50 MCG

10/13/16       1808 FIMCGILM      y                                          1
                     Dose: 50 MCG
           Case 2:18-cv-00924-PD          Document 15-5   Filed 05/03/18   Page 22 of 81

DATE: ll/03/16 @ 0002          Mercy Fitzgerald Hospital PHA *LIVE*                        PAGE 82
USER: MT                        Medication Administration Summary

Patient                                        Responsible Doctor LITTMAN,MARIO, MD
Account NUllber FAfJb72230B9     Location     FI4PVA             Unit Nwaber     F001250247
Age/Sex         37/M             Rc:x:m       411                Registered Date 10/07/16
Status          DIS IN           Bed          02                 Discharged Date 11/0 l/16

EFUNNUGA,OLUTOKUNBO                 Fll.1307223089                         (Continued)

10/13/lG    2044 FIMCGILM      Y                                       1
                  Dose: 50 MCG

  Adllin Totals                                                        6
            Case 2:18-cv-00924-PD        Document 15-5     Filed 05/03/18   Page 23 of 81

DATE: ll/03/16 @ 0002          Mercy Fitzgerald Hospital PHA *LIVE*                          PAGE 83
USER: MT                        Medication Administration Summary

Patient                                         Responsible Doctor LITTMAN,MARIO, MD
Account Nwaber.FAi3oi223o89         Location   FI4PVA             Unit Nwaber     F001250247
Age/Sex        37/M                 Rooa       411                Registered Date 10/07/16
Status         DIS IN               Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                   FA1307223089                          (Continued)

HEPA500014 - HEPARIN SODIUM        5000 UNITS/ML VIAL

  Dose          5,000 UNITS (1 ML)
  A.ch.in Route SUBQ
  Start Date 10/07/16-1300          Stop Date None                  DC Date 10/ll/16-1040
  Ordering Doctor       BORIKAR,MADHURA S MD
  Total Dispensed       11          Total Costs $20.46               Total Charges $170.50
  Rx Nu:aber    001873871



  History
   10/07/16 0816 -   POM ORDER                       by COBORIKM
   10/07/16 0828 -   VERIFIED                        by FIJASINT
   10/07/16 1144 -   DEBIT                           by MB RIGHT
         ITEMS: 1      DOSES: 1
   10/07/16 2141 -   DEBIT                           by CZIMMERM
         ITEMS: 1      DOSES: 1
   10/08/16 0541 -   DEBIT                           by CZIMMERM
         ITEMS: 1      DOSES: 1
   10/08/16 1312 -   DEBIT                           by MBRIGHT
        ITEMS: 1       DOSES: 1
   10/08/16 2117 -   DEBIT                           by DMCDEVITT
        ITEMS: 1       DOSES: 1
   10/09/16 0434 -   DEBIT                           by DMCDEVITT
        ITEMS: 1       DOSES: 1
   10/09/16 1239 -   DEBIT                           by MBRIGHT
        ITEMS: 1       DOSES: 1
   10/09/16 2133 -   DEBIT                           by DMCDEVITT
        ITEMS: 1       DOSES: 1
   10/10/16 0426 -   DEBIT                           by DMCDEVITT
        ITEMS: 1       DOSES: 1
   10/10/16 1117 -   DEBIT                           by LHOKE
        ITEMS: 1       DOSES: 1
   10/ll/16 0307 -   DEBIT                           by VDAMATO
         ITEMS: 1       DOSES: 1
   10/ll/16 1042 - DISCONTINUE                       by COBHARGS     Eff: 10/ll/16 104 0
      EDIT DOCTOR: BHARGAVA,SURBHI MD
      EDIT SOURCE: Provider Source

Adlain Date Tiae User            Given Bag Reason Code              Items         Charge
10/07/16     1354 FIBRIGHM         y                                    1           0.00
(10/07/16) ( 13 0 0 ) Dose : 5,000 UNITS

10/07/16    2153 FIZIMMEC     y                                         1           0.00
(10/07/16) (2100) Dose: 5,000 UNITS

10/08/16    0547 FIZIMMEC     y                                         1           0. 0 0
(10/08/16) (0500) Dose: 5,000 UNITS
            Case 2:18-cv-00924-PD           Document 15-5   Filed 05/03/18   Page 24 of 81

DATE: ll/03/16 @ 0002           Mercy Fitzgerald Hospital PHA *LIVE*                           PAGE 84
USER: MT                         Medication Administration Summary

Patient                                          Responsible Doctor LITTMAN,MARIO, MD
Account Hum.her FA1307223089       Location     FI4PVA             Unit Num.ber    F001250247
Age/Sex         37/M               Rcx:m.       411                Registered Date 10/07/16
Status          DIS IN             Bed          02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                  FA1307223089                            (Continued)


10/08/16     1313 FIBRIGHM         y                                     1           0. 0 0
(10/08/16) ( 13 0 0 ) Dose : 5,000 UNITS

10/08/16     2119 FIMCDEVD     y                                         1           0.00
( 10/08/16) (2100) Dose: 5,000 UNITS

10/09/16    0439 FIMCDEVD     y                                          1           0.00
(10/09/16) (0500) Dose: 5,000 UNITS

10/09/16     1242 FIBRIGHM         y                                     1           0.00
(10/09/16) ( 13 0 0 ) Dose : 5,000 UNITS

10/09/16    2136 FIMCDEVD     y                                          1           0.00
(10/09/16) (2100) Dose: 5,000 UNITS

10/10/16    0428 FIMCDEVD     y                                          1           0. 0 0
(10/10/16) (0500) Dose: 5,000 UNITS

10/10/16     113 0 FIHOI<EL        y                                     1           0.00
(10/10/16) ( 13 0 0 ) Dose : 5,000 UNITS

10/10/16    2047 FIYOUNGS     y                                          1           0.00
(10/10/16) (2100) Dose: 5,000 UNITS

10/ll/16    0444 FIDAMATV     y                                          1           0.00
(10/ll/16) (0500) Dose: 5,000 UNITS


  Adain Totals                                                          12                 0
               Case 2:18-cv-00924-PD    Document 15-5      Filed 05/03/18   Page 25 of 81

DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                            PAGE 85
USER: MT                       Medication Administration Summary

Patient                                       Responsible Doctor LITTMAN.MARIO, MD
Account N~r-F.ii.i3o7223o89      iOC:O.ti..;;n FI4PVA           Unit Nu.her     F001250247
Age/Sex        37/M              Rooa        411                Registered Date 10/07/16
Status         DIS IN            Bed         02                 Discharged Date 11/0 l/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                             (Continued)


SODI1DIS4 - SODIUM BICARBONATE 8.4% 50 MEQ/50 ML DISP.SYRIN

  Dose         100 MEQ (100 ML)
  Acbain Route IV
  Start Date 10/07/16-1030         Stop Date 10/07/16 1031         DC Date 10/07/16-1031
  Ordering Doctor      BORIKAR,MADHURA S MD
  Total Dispensed      2           Total Costs $5.10                Total Charges $42.50
  Rx Number    001874040

  Varnings
  Type:            SINGLE DOSE
  Range:           SODIUM BICARBONATE (50 MEQ/50 ML)
  Condition:       ALL COMMON INDICATIONS
  Daily Dose          Dosing range is 2 MEQ/KG/DAY - 5 MEQ/KG/DAY. Ordered dose of 1.18
                      MEQ/KG/DAY is below the Low Daily Dose. Factoring in variances, the
                      range of values for this dose is Low: 163.93 MEQ High: 435.18 MEQ
                      Max: 435 .18 MEQ.


  Discontinue CoJU.ents Reached Stop Date


  History
   10/07/16 1025 - POM ORDER                        by COBORIKM
   10/07/16 1030 - VERIFIED                         by FIREALID
   10/07/16 1031 - DISCONTINUE                      by PHABKGJOB     Eff: 10/07/16 1031
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date
   10/07/16 1050 - DEBIT                            by MBRIGHT
        ITEMS: 2     DOSES: 1

Acbain Date Tiae User       Given Bag Reason Code                  Items         Charge
10/07/16    1051 FIBRIGHM     Y                                        2           0.00
(10/07/16) (1030) Dose: 100 MEQ


  Ach.in Totals                                                        2                  0
            Case 2:18-cv-00924-PD      Document 15-5    Filed 05/03/18    Page 26 of 81

DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital FHA *LIVE*                        PAGE 86
USER: MT                       Medication Administration Summary

Patient                                     Responsible Doctor LITTMAN,MARIO, MD
A=unt Nu.ber.FAi3b72i3b89       Location   FI4PVA             Unit Nuaber     F001250247
Age/Sex       37/M              Rooa       411                Registered Date 10/07/16
Status        DIS IN            Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                           (Continued)


SODI1DIS4 - SODIUM BICARBONATE 8.4% 50 MEQ/50 ML DISP.SYRIN

  Dose         100 MEQ (100 ML)
  AdD.in Route IV
  Start Date 10/07/16-1200         Stop Date 10/07/16 1201        DC Date 10/07/16-1201
  Ordering Doctor      BORIKAR,MADHURA S MD
  Total Dispensed      0           Total Costs SO.DO               Total Charges SO.DO
  Rx Nuaber    001874184

  Varnings
  Type:            SINGLE DOSE
  Range:           SODIUM BICARBONATE (50 MEQ/50 ML)
  Condition:       ALL COMMON INDICATIONS
  Daily Dose          Dosing range is 2 MEQ/KG/DAY - 5 MEQ/KG/DAY. Ordered dose of 1.18
                      MEQ/KG/DAY is below the Low Daily Dose. Factoring in variances, the
                      range of values for this dose is Low: 163.93 MEQ High: 435.18 MEQ
                      Max: 435 .18 MEQ.




  History
   10/07/16 1148 - POM ORDER                      by COBORIKM
   10/07/16 1154 - VERIFIED                       by FIREALID
   10/07/16 1201 - DISCONTINUE                    by PHABI<GJOB     Eff: 10/07/16 1201
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date
   10/07/16 1202 - DEBIT                          by MBRIGHT
        ITEMS: 2     DOSES: 1
   10/07/16 1203 - CREDIT                         by MBRIGHT
        ITEMS: 2     DOSES: 1
   10/07/16 1204 - DISCONTINUE                    by COBORIKM       Eff: 10/07/16 1201
      EDIT DOCTOR: BORIKAR,MADHURA S MD
      EDIT SOURCE: Provider Source
      FROM:
        DC COMMENTS:
          Reached Stop Date
      TO:
        DC COMMENTS:

Achlin Date Tiae User       Given Bag Rea.son Code                Items         Charge
10/07/16    1200 FIBRIGHM     N       DC
(10/07/16) (1200) Dose: 0 MEQ


  .A.dmin Totals
            Case 2:18-cv-00924-PD       Document 15-5      Filed 05/03/18   Page 27 of 81

DATE: ll/03/16 @ 0002          Mercy Fitzgerald Hospital PHA *LIVE*                           PAGE 87
USER: MT                        Medication Administration Summary

Patient                                         Responsible Doctor LITTMAN,MARIO, MD
Account Hu.her FA1307223089       Location     FI4PVA             Unit Nu.her      F001250247
Age/Sex        37/M               Roca         411                Registered. Date 10/07/16
Status         DIS IN             Bed          02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                            (Continued)



SODI1DIS4 - SODIUM BICARBONATE 8.4% 50 MEQ/50 ML DISP.SYRIN

  Dose        100 MEQ (100 ML)
  Ad.in Route IV
  Start Date 10/08/16-0500        Stop Date 10/08/16 0501          DC Date 10/08/16-0501
  Ordering Doctor     ZHANG,HONGYU MD
  Total Dispensed     2           Total Costs $5.10                 Total Charges $42.50
  Rx Nu:aber  001874991

  Warnings
  Type:           SINGLE DOSE
  Range:          SODIUM BICARBONATE (50 MEQ/50 ML)
  Condition:      ALL COMMON INDICATIONS
  Daily Dose         Dosing range is 2 MEQ/KG/DAY - 5 MEQ/KG/DAY. Ordered dose of 1.18
                     MEQ/KG/DAY is below the Low Daily Dose. Factoring in variances, the
                     range of values for this dose is Low: 163.93 MEQ High: 435.18 MEQ
                     Max : 4 3 5 . 18 MEQ .


  Discontinue Colllll.ents Reached Stop Date


  History
   10/08/16 0450 - POM ORDER                   by COZHANGH
   10/08/16 0501 - EDIT                        by FISPERAR
      EDIT DOCTOR: ZHANG,HONGYU MD
      FROM:
        START: 10/08/16-0445   STOP: 10/08/16 0446    SOFT STOP:
      TO:
        START: 10/08/16-0500   STOP: 10/08/16-0501    SOFT STOP:
   10/08/16 0501 - VERIFIED                    by FISPERAR
   10/08/16 0502 - DISCONTINUE                 by PHABKGJOB      Eff: 10/08/16 0501
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date
   10/08/16 0542 - DEBIT                             by CZIMMERM
        ITEMS: 2     DOSES: 1

A.dain Date Tiae User       Given Bag Reason Code                  Iten.s        Charge
10/08/16    0547 FIZIMMEC     Y                                        2           0.00
(10/08/16) (0500) Dose: 100 MEQ


  Ad.in Totals                                                         2                  0
               Case 2:18-cv-00924-PD           Document 15-5   Filed 05/03/18    Page 28 of 81

DATE: ll/03/16 @ 0002           Mercy Fitzgerald Hospital PHA *LIVE*                             PAGE 88
USER: MT                         Medication Administration Summary

Patient                                             Resixinsible Doctor LITTMAN.MARIO. MD
Account Hwaber. fi.i3bi2i3089 .       Location     FI4PVA              Unit Nwaber     F001250247
lt.ge/Sex       37/M                  RCJCD.       411                 Registered Date 10/07/16
Status          DIS IN                Bed          02                  Discharged Date ll/Ol/16

EFUNNUGA.OLUTOKUNBO                      FA1307223089                            (Continued)


ACET160S3 - Acetaminophen 650 MG/20.3 ML SOLUTION

  Dose         650 MG (20.3 ML)
  Adm.in Route PEG
  Frequency    Q6H (PRN) PAR= PRN REASON: fever
  Start Date 10/08/16-2045         Stop Date None                       DC Date 10/12/16-1137
  Ordering Doctor      BHARGAVA,SURBHI MD
  Total Dispensed      4           Total Costs Sl.48                     Total Charges $5.60
  Rx Nuaber    001875466



  History
   10/08/16 2039 - POM ORDER                             by COBHARGS
   10/08/16 2043 - VERIFIED                              by FISPERAR
   10/08/16 2053 - DEBIT                                 by DMCDEVITT
        ITEMS: 1     DOSES: 1
   10/09/16 0845 - DEBIT                                 by MB RIGHT
        ITEMS: 1     DOSES: 1
   10/09/16 1431 - DEBIT                                 by MBRIGHT
        ITEMS: 1     DOSES: 1
   10/10/16 0426 - DEBIT                                 by DMCDEVITT
        ITEMS: 1     DOSES: 1
   10/10/16 1528 - EDIT                                  by FIL INC
      TO:
       ADR OVERRIDE: V - RPH REVIEWED ORDER
   10/12/16 1138 - DISCONTINUE                           by COVALEND      Eff: 10/12/16 113 7
      EDIT DOCTOR: VALENTINO.DOMINIC J. DO
      EDIT SOURCE: Provider Source

Adll.in Date   Tiae User       Given Bag Reason Ccxl.e                  Item.s         Charge
10/08/16       2115 F IMCDEVD     y                                         1
                     Dose: 650 MG
10/09/16       0845 FIBRIGHM      y                                         1
                     Dose: 650 MG
10/09/16       1453 FIBRIGHM      y                                         1
                     Dose: 650 MG
10/10/16       0428 FIMCDEVD      y                                         1
                     Dose: 650 MG

  Adain Totals                                                              4
           Case 2:18-cv-00924-PD      Document 15-5      Filed 05/03/18      Page 29 of 81

DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                              PAGE 89
USER: MT                       Medication Administration Summary

Patient                                        Responsible Doctor LITTMAH,MARIO, MD
Account Humber FA1307223089      Location     FI4PVA             Unit Hum.her    F001250247
Age/Sex        37/M              Rooa         411                Registered Date 10/07/16
Status         DIS IN            Bed          02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                               (Continued)


MAGN400T3 - MAGNESIUM OXIDE 400 MG TABLET

  Dose        400 MG (1 TABLET)
  Adain Route PO
  Start Date 10/09/16-1015        Stop Date 10/09/16 1016          DC Date 10/09/16-1016
  Ordering Doctor     BORIKAR,MADHURA S MD
  Total Dispensed     1           Total Costs $0.03                 Total Charges Sl.05
  Rx Nuaber   001875799

  Discontinue Collll.ents Reached Stop Date


  History
   10/09/16 1014 - POM ORDER                        by COBORIKM
   10/09/16 1016 - VERIFIED                         by FIRECEVM
   10/09/16 1016 - DISCONTINUE                      by PHABKGJOB     Ef f:   10/09/16 1016
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date
   10/09/16 1029 - DEBIT                            by MBRIGHT
        ITEMS: 1     DOSES: 1

Acbtin Date Time User       Given Bag Reason Code                  I tells          Charge
10/09/16    1033 FIBRIGHM      Y                                         1            0.00
(10/09/16) (1015) Dose: 400 MG


  Adain Totals                                                          1                   0
           Case 2:18-cv-00924-PD          Document 15-5   Filed 05/03/18   Page 30 of 81

DATE: ll/03/16 @ 0002          Mercy Fitzgerald Hospital PHA *LIVE*                          PAGE 90
USER: MT                        Medication Administration Summary

Patient                                        Res1XJnsible Doctor LITTMAN,MARIO, MD
Account HUJlber FA1307223089      Location    FI4PVA              Unit Nwaber     F001250247
Age/Sex         37/M              ROOll       411                 Registered Date 10/07/16
Status          DIS IN            Bed         02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                           (Continued)


FAM010VI12 - Famotidine/Pf 20 MG/2 ML INJECTION

  Dose        20 MG (2 ML)
  Adain Route IV
  Start Date 10/09/16-1030        Stop Date None                  DC Date 10/10/16-1225
  Ordering Doctor     BORIKAR,MADHURA S MD
  Total Dispensed     2           Total Costs Sl.92                Total Charges $16.00
  Rx Nuaber   001875833



  Historv
   10/09/16 1031 - POM ORDER                        by COBORIKM
   10/09/16 1031 - NOW DOSE                         by COBORIKM
      Now Dose: 10/09/16 1030
   10/09/16 1031 - KEEP NEXT DOSE                   by COBORIKM
      Keep Next Dose: 10/10/16 0900
   10/09/16 1033 - VERIFIED                         by FIRECEVM
   10/09/16 1154 - DEBIT                            by MBRIGHT
        ITEMS: 1     DOSES: 1
   10/10/16 0758 - DEBIT                            by LHOKE
        ITEMS: 1     DOSES: 1
   10/10/16 1229 - DISCONTINUE                      by CORUSSDA     Eff: 10/10/16 1225
      EDIT DOCTOR: RUSSELL,DAVID T DO
      EDIT SOURCE: Provider Source

Adllin Date Ti•e User       Given Bag Reason Code                 Items          Charge
10/09/16    1157 FIBRIGHM     y                                        1           0.00
(10/09/16) (1030) Dose: 20 MG

10/10/16    0858 FIHOKEL      y                                        1           0.00
(10/10/16) (0900) Dose: 20 MG


  Adain Totals                                                         2                 0
             Case 2:18-cv-00924-PD        Document 15-5       Filed 05/03/18   Page 31 of 81

DATE: ll/03/16 @ 0002           Mercy Fitzgerald Hospital PHA *LIVE*                           PAGE 91
USER: MT                         Medication Administration Summary

Patient                                          Responsible Doctor LITTMAN.MARIO, MD
Account Hu:iaber · Fiti3oi2i3o89 · · Location   FI4PVA             Unit NUlllbcr   F001250247
Age/Sex            37/M              Rooa       411                Registered Date 10/07/16
Status             DIS IN            Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                   FA1307223089                             (Continued)


FAM020TA42 - FAMOTIDINE 20 MG TABLET

  Dose        20 MG (1 TABLET)
  Adain Route PO
  Start Date 10/10/16-1230        Stop Date None                      DC Date 10/10/16-1232
  Ordering Doctor     RUSSELL,DAVID T DO
  Total Dispensed     0           Total Costs $                        Total Charges $
  Rx Number   001877023



  History-
   10/10/16 1229 - POM ORDER                          by CORUSSDA
   10/10/16 1229 - NOW DOSE                           by CORUSSDA
      Now Dose: 10/10/16 1230
   10/10/16 1229 - KEEP NEXT DOSE                     by CORUSSDA
      Keep Next Dose: 10/10/16 2100
   10/10/16 1233 - DISCONTINUE                        by CO RUSS DA     Eff: 10/10/16 1232
      EDIT DOCTOR: RUSSELL,DAVID T DO
      EDIT SOURCE: Provider Source
   10/10/16 1233 - POM COPY AND EDIT                  by CO RUSS DA
      TO: Rx #U001133725
   10/10/16 1233 - VERIFIED                           by SYSTEM
      Verified in order to DC

Adlain Date Time User        Given Bag Reason Code                    Items         Charge
10/10/16    1230 FIMCCORJ      N       DC
(10/10/16) (1230) Dose: 0 MG


  Admin Totals
           Case 2:18-cv-00924-PD       Document 15-5      Filed 05/03/18   Page 32 of 81

DATE: ll/03/16 @ 0002          Mercy Fitzgerald Hospital PHA *LIVE*                        PAGE 92
USER: MT                        Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN,MARIO, MD
Account NUllber FA1307223089     Location   FI4PVA             Unit Nu.her     F001250247
Age/Sex         37/M             Roca       411                Registered Date 10/07/16
Status          DIS IN           Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                            (Continued)


FAM020TA42 - FAMOTIDINE 20 MG TABLET

  Dose        20 MG (1 TABLET)
  Ad.in Route PO
  Start Date 10/10/16-2100        Stop Date None                  DC Date 10/16/16-1047
  Ordering Doctor     RUSSELL,DAVID T DO
  Total Dispensed     12          Total Costs $0.60                Total Charges $13.20
  Rx NuJRber  001877025



  History
   10/10/16 1233 - POM COPY AND EDIT              by CORUSSDA
      FROM: Rx #001877023
   10/10/16 1239 - EDIT                           by FIREALID
      EDIT DOCTOR: RUSSELL,DAVID T DO
      FROM:
        DOSE: 40 MG    (2 TABLETS)
        CHARGE: $2.20
      TO:
        DOSE: 20 MG    (1 TABLET)
        CHARGE: $1.10
   10/10/16 1239 - VERIFIED                       by FIREALID
   10/10/16 2035 - DEBIT                          by SYOUNG
         ITEMS: 1     DOSES: 1
   10/11/16 0822 - DEBIT                          by LHOKE
         ITEMS: 1     DOSES: 1
   10/ll/16 2010 - DEBIT                          by SYOUNG
        ITEMS: 1      DOSES: 1
   10/12/16 0848 - DEBIT                          by LHOKE
        ITEMS: 1      DOSES: 1
   10/12/16 2030 - DEBIT                          by MM CG ILL
        ITEMS: 1      DOSES: 1
   10/13/16 0806 - DEBIT                          by LHOKE
        ITEMS: 1      DOSES: 1
   10/13/16 2024 - DEBIT                          by MM CG ILL
        ITEMS: 1       DOSES: 1
   10/14/16 0926 -   DEBIT                        by LHOKE
        ITEMS: 1       DOSES: 1
   10/14/16 2005 -   DEBIT                        by JMCCORMICK
        ITEMS: 1       DOSES: 1
   10/15/16 0800 -   DEBIT                        by HBEURKET
        ITEMS: 1       DOSES: 1
   10/15/16 1953 -   DEBIT                        by NREVl!.1(
        ITEMS: 1       DOSES: 1
   10/16/16 0803 -   DEBIT                        by HBEURKET
        ITEMS: 1       DOSES: 1
   10/16/16 1109 -   DISCONTINUE                  by COZHANGH       Eff: 10/16/16 1047
      EDIT DOCTOR:   ZHANG,HONGYU MD
              Case 2:18-cv-00924-PD        Document 15-5    Filed 05/03/18    Page 33 of 81

DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                             PAGE 93
USER: MT                       Medication Administration Summary

Patient                                        ResIXJnsible Doctor LITTMAN,MARIO, MD
Account N~~·FAi3oi223o89            L~ation   FI4PVA              Unit NUMber     F001250247
Age/Sex       37/M                  Rooa      411                 Registered Date 10/07/16
Status        DIS IN                Bed       02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                   FA1307223089                           (Continued)

      EDIT SOURCE: Provider Source

Achl.in Date Tiae User      Given Bag Reason Code                 I tells          Charqe
10/10/16     2047 FIYOUNGS    y                                         1            0.00
(10/10/16) (2100) Dose: 20 MG

10/ll/16    0829 FIHOKEL      y                                        1             0. 0 0
(10/ll/16) (0900) Dose: 20 MG

10/ll/16    2023 FIYOUNGS     y                                        1             0.00
(10/ll/16) (2100) Dose: 20 MG

10/12/16    0903 FIHOKEL      y                                        1             0. 0 0
(10/12/16) (0900) Dose: 20 MG

10/12/16    2153 FIMCGILM     y                                        1             0.00
(10/12/16) (2100) Dose: 20 MG

10/13/16     0810 FIHOKEL      y                                       1             0. 0 0
( 10/13/16) (0900) Dose: 20 MG

10/13/16    2043 FIMCGILM     y                                        1             0.00
(10/13/16) (2100) Dose: 20 MG

10/14/16     0933 FIHOKEL      y                                       1             0. 0 0
( 10/14/16) (0900) Dose: 20 MG

10/14/16     2008 FIMCCORJ     y                                       1             0.00
( 10/14/16) (2100) Dose: 20 MG

10/15/16    0806 FIBEURKH     y                                        1             0. 0 0
(10/15/16) (0900) Dose: 20 MG

10/15/16    2002 FIREVAKN     y                                        1             0.00
(10/15/16) (2100) Dose: 20 MG

10/16/16     0839 FIBEU:RKH     y                                      1             0. 0 0
(10/16/16) (0900) Dose: 20 MG


  Adin.in Totals                                                      12                   0
           Case 2:18-cv-00924-PD        Document 15-5     Filed 05/03/18   Page 34 of 81
DATE: ll/03/16 @ 0002          Mercy Fitzgerald Hospital PHA *LIVE*                        PAGE 94
USER: MT                        Medication Administration Summary

Patient                                         Responsible Doctor LITTMAN,MARIO, MD
.Account Hu.her FAi3o7223089     iocatic::ln   FI4PVA             Unit Nwt.ber    F001250247
.Age/Sex        37/M             Room          411                Registered Date 10/07/16
Status          DIS IN           Bed           02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                            (Continued)

FOLI1TAB35 - Folic Acid 1 MG TABLET

  Dose        1 MG (1 TABLET)
  Adain Route GT
  Start Date 10/ll/16-0900        Stop Date None                   DC Date 10/26/16-0710
  Ordering Doctor     ZHANG,HONGYU MD
  Total Dispensed     12          Total Costs $0.60                 Total Charges $12.60
  Rx Nuaber   001877055



  History
   10/10/16 1247 - POM ORDER                         by COZHANGH
   10/10/16 1259 - EDIT                              by FIANDERC
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/10/16 1259 - VERIFIED                          by FIANDERC
   10/ll/16 0823 - DEBIT                             by LHOKE
        ITEMS: 1     DOSES: 1
   10/12/16 0848 - DEBIT                            by LHOKE
        ITEMS: 1     DOSES: 1
   10/13/16 0806 - DEBIT                            by LHOKE
        ITEMS: 1     DOSES: 1
   10/14/16 0926 - DEBIT                            by LHOKE
        ITEMS: 1     DOSES: 1
   10/15/16 0800 - DEBIT                            by HBEURKET
        ITEMS: 1     DOSES: 1
   10/16/16 0803 - DEBIT                            by HBEURKET
        ITEMS: 1     DOSES: 1
   10/19/16 0847 - DEBIT                            by DGILMAN
        ITEMS: 1     DOSES: 1
   10/20/16 0920 - DEBIT                            by DGILMAN
        ITEMS: 1     DOSES: 1
   10/21/16 0930 -   DEBIT                          by DGILMAN
        ITEMS: 1     DOSES: 1
   10/22/16 0800 - DEBIT                            by MCAVANAU
        ITEMS: 1     DOSES: 1
   10/23/16 0808 - DEBIT                            by MCAVANAU
        ITEMS: 1     DOSES: 1
   10/25/16 0930 - DEBIT                            by DGILMAN
        ITEMS: 1     DOSES: 1
   10/26/16 0715 - DISCONTINUE                      by COMANNR      Eff: 10/26/16 0710
      EDIT DOCTOR: MANN,RUPINDER K MD
      EDIT SOURCE: Provider Source
   10/26/16 0715 - POM COPY AND EDIT                by COMANNR
      TO: Rx #U001144702
             Case 2:18-cv-00924-PD              Document 15-5      Filed 05/03/18   Page 35 of 81

DATE: ll/03/16 @ 0002                Mercy Fitzgerald Hospital FHA *LIVE*                             PAGE 95
USER: MT                              Medication Administration Summary

Patient                                                 ReslXlnsible Doctor LITTMAN.MARIO, MD
Account Hulllher · FAi3o7223o89 ··        Location     FI4PVA              Unit HW11.ber   F001250247
Age/Sex            37/M                   RCXJm        411                 Registered Date 10/07/16
Status             DIS IN                 Bed          02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                         FA1307223089                            (Continued)

Adiain Date Time User         Given Bag Reason Code                        Iten.s         Charge
10/ll/16     0829 FIHOKEL       y                                               1           0. 0 0
( 10/ll/16) (0900) Dose: 1 MG

10/12/16     0902 FIHOKEL             y                                        1            0.00
( 10/12/16) (0900) Dose: 1 MG

10/13/16    0810 FIHOKEL              y                                        1            0. 0 0
(10/13/16) (0900) Dose: 1 MG

10/14/16    0933 FIHOKEL              y                                        1            0. 0 0
(10/14/16) (0900) Dose: 1 MG

10/15/16    0806 FIBEURKH             y                                        1            0. 0 0
(10/15/16) (0900) Dose: 1 MG

10/16/16    0839 FIBEURKH             y                                        1            0. 0 0
(10/16/16) (0900) Dose: 1 MG

10/17/16    0900 FIMCCARD             N          REFUSED
(10/17/16) (0900) Dose: 0 MG

10/18/16    0 9 0 0 FIG ILMAD         N          IS
(10/18/16) (0900) Dose: 0 MG

10/19/16    0903 FIGILMAD             y                                        1            0.00
(10/19/16) (0900) Dose: 1 MG

10/20/16     0923 FIGILMAD            y                                        1            0.00
(10/20/16) ( 0 9 0 0 ) Dose : 1 MG

10/21/16    0943 FIGILMAD             y                                        1            0. 0 0
(10/21/16) (0900) Dose: 1 MG

10/22/16    0813 FICAVANMl            y                                        1            0.00
(10/22/16) (0900) Dose: 1 MG
10/23/16    0811 FICAVANMl            y                                        1            0.00
(10/23/16) (0900) Dose: 1 MG

10/24/16    0852 FIGILMAD             N          NPO
(10/24/16) (0900) Dose: 0 MG

10/25/16    0936 FIGILMAD             y                                        1            0.00
(10/25/16) (0900) Dose: 1 MG


  A.chain Totals                                                              12                  0
           Case 2:18-cv-00924-PD     Document 15-5     Filed 05/03/18    Page 36 of 81

DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                       PAGE 96
USER: MT                       Medication Administration Summary
Patient                                     Responsible Doctor LITTMAN.MARIO, MD
Account Hwaber FA1307223089     Location   FI4PVA             Unit Hwa.her    F001250247
Age/Sex        37/M             Rooa       411                Registered Date 10/07/16
Status         DIS IN           Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO               FA1307223089                           (Continued)

THIA100T4 - Thiamine HCl 100 MG TABLET

  Dose        100 MG (1 TABLET)
  Achin Route GT
  Start Date 10/ll/16-0900        Stop Date None               DC Date 10/26/16-0710
  Ordering Doctor     ZHANG,HONGYU MD
  Total Dispensed     13          Total Costs $0.13             Total Charges $13.65
  Rx Nuaber   001877056



  History-
   10/10/16 1247 - POM ORDER                     by COZHANGH
   10/10/16 1259 - EDIT                          by FIANDERC
      FROM:
         DUPLICATE COMMENT:
      TO:
         DUPLICATE COMMENT: RPH
   10/10/16 1259 - VERIFIED                      by FIANDERC
   10/ll/16 0822 - DEBIT                         by LHOKE
         ITEMS: 1     DOSES: 1
   10/12/16 0848 - DEBIT                         by LHOKE
         ITEMS: 1     DOSES: 1
   10/13/16 0806 - DEBIT                         by LHOKE
         ITEMS: 1     DOSES: 1
   10/14/16 0926 - DEBIT                         by LHOKE
         ITEMS: 1     DOSES: 1
   10/15/16 0759 - DEBIT                         by HBEURKET
         ITEMS: 1     DOSES: 1
   10/15/16 1952 - DEBIT                         by NREVAK
         ITEMS: 1     DOSES: 1
   10/16/16 0802 - DEBIT                         by HBEURKET
         ITEMS: 1     DOSES: 1
   10/19/16 0802 - DEBIT                         by DGILMAN
         ITEMS: 1     DOSES: 1
   10/20/16 0919 - DEBIT                         by DGILMAN
         ITEMS: 1     DOSES: 1
   10/21/16 0929 - DEBIT                         by DGILMAN
         ITEMS: 1     DOSES: 1
   10/22/16 0759 - DEBIT                         by MCAVANAU
         ITEMS: 1     DOSES: 1
   10/23/16 0807 - DEBIT                         by MCAVANAU
         ITEMS: 1     DOSES: 1
   10/25/16 0930 - DEBIT                         by DGILMAN
         ITEMS: 1     DOSES: 1
   10/26/16 0715 - DISCONTINUE                   by COMANNR      Eff:   10/26/16 0710
      EDIT DOCTOR: MANN,RUPINDER K MD
      EDIT SOURCE: Provider Source
   10/26/16 0715 - POM COPY AND EDIT             by COMANNR
              Case 2:18-cv-00924-PD            Document 15-5       Filed 05/03/18   Page 37 of 81

DATE: ll/03/16 @ 0002             Mercy Fitzgerald Hospital PHA *LIVE*                                PAGE 97
USER: MT                           Medication Administration Summary

Patient                                                Resp:>nsible Doctor LITTMAN,MARIO, MD
Account Hu.her :F.l\i307223o89          Location      FI4PVA              Unit Huaber     F001250247
Age/Sex        37/M                     Rooa          411                 Registered Date 10/07/16
Status         DIS IN                   Bed           02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                       FA1307223089                              (Continued)

       TO: Rx #U001144703

.A.ch.in Date Tiae User      Given Bag Reason Code                        Items           Charqe
10/ll/16      0829 FIHOKEL      y                                             1             0. 0 0
 (10/ll/16) (0900) Dose: 100 MG

10/12/16    0903 FIHOKEL       y                                               1            0.00
(10/12/16) (0900) Dose: 100 MG

10/13/16    0810 FIHOKEL       y                                               1            0. 0 0
(10/13/16) (0900) Dose: 100 MG

10/14/16    0932 FIHOKEL       y                                               1            0.00
(10/14/16) (0900) Dose: 100 MG

10/15/16     0806 FIBEURKH          y                                          1            0. 0 0
(10/15/16) ( 0 9 0 0) Dose: 10 0 MG

10/16/16    0839 FIBEURKH      y                                               1            0. 0 0
(10/16/16) (0900) Dose: 100 MG

10/17/16     0900 FIMCCARD          N           REFUSED
( 10/17/16) (0900) Dose: 0 MG

10/18/16    0 9 0 0 FIG ILMAD       N           IS
(10/18/16) (0900) Dose: 0 MG

10/19/16    0 9 0 3 FIG ILMAD  y                                               1            0. 0 0
(10/19/16) (0900) Dose: 100 MG

10/20/16    0923 FIGILMAD      y                                               1            0.00
(10/20/16) (0900) Dose: 100 MG

10/21/16    0944 FIGILMAD      y                                               1            0. 0 0
(10/21/16) (0900) Dose: 100 MG

10/22/16    0810 FICAVANMl     y                                               1            0.00
(10/22/16) (0900) Dose: 100 MG

10/23/16     0811 FICAVANMl     y                                              1            0. 0 0
( 10/23/16) (0900) Dose: 100 MG

10/24/16    0852 FIGILMAD           N           NPO
(10/24/16) (0900) Dose: 0 MG

10/25/16    0 9 3 6 FIG IlMAD  y                                               1            0. 0 0
(10/25/16) (0900) Dose: 100 MG


  Admin Totals                                                                12                  0
           Case 2:18-cv-00924-PD      Document 15-5     Filed 05/03/18   Page 38 of 81

DATE: ll/03/16 @ 0002        Mercy Fitzgerald Hospital PHA *LIVE*                        PAGE 98
USER: MT                      Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN,MARIO, MD
Account N~r ·FAi3bi223ba9·      Location    FI4PVA             Unit NUJt.ber   F001250247
Age/Sex      37/M               Rooa        411                Registered Date 10/07/16
Status       DIS IN             Bed         02                 Discharged Date ll/O l/16

EFUNNUGA,OLUTOKUNBO               FA1307223089                           (Continued)



SUCC200S - Succinvlcholine Chloride 200 MG/10 ML SYRINGE

  Dose        200 MG (10 ML)
  Adain Route IV
  Start Date 10/07/16-1447        Stop Date 10/07/16 1448       DC Date 10/07/16-1448
  Ordering Doctor     DOCTOR.PYXIS OVERRIDE
  Total Dispensed     1           Total Costs $6.50              Total Charges $53. 75
  Rx Nuaber   001877194

  Discontinue eo..ents DC'd by FIKANJIR


  History
   10/10/16 1447 - DISCONTINUE                    by STK MED      Eff: 10/07/16 144 8
      FROM:
         DC COMMENTS:
      TO:
         DC COMMENTS:
           DC'd by FIKANJIR
   10/10/16 1447 - ENTER                         by FIKANJIR
      Items Dispensed: 1     Doses Dispensed:    1
       For: 10/07/16 - 1447

ETOM2AMP - ETOMIDATE 2 MG/ML AMPUL 20 ML

 Dose        40 MG (20 ML)
 Admin Route IV
 Start Date 10/07/16-1447        Stop Date 10/07/16 1448        DC Date 10/07/16-1448
 Ordering Doctor     DOCTOR.PYXIS OVERRIDE
 Total Dispensed     1           Total Costs 512.10              Total Charges $99.75
 Rx Nuaber   001877195

 Discontinue Colllllents DC'd by FIKANJIR


 History
  10/10/16 1447 - ENTER                          by FIKANJIR
     Items Dispensed: 1     Doses Dispensed:     1
      For: 10/07/16 - 1447
  10/10/16 1447 - DISCONTINUE                    by STK MED       Eff: 10/07/16 1448
     FROM:
       DC COMMENTS:
     TO:
       DC COMMENTS:
         DC'd by FIKANJIR
           Case 2:18-cv-00924-PD         Document 15-5    Filed 05/03/18     Page 39 of 81

DATE: ll/03/16 @ 0002          Mercy Fitzgerald Hospital PHA *LIVE*                             PAGE 99
USER: MT                        Medication Administration Summary

Patient                                       Resp::msible Doctor LITTMAN,MARIO, MD
Account Nu.tier FA1307223089     Location    FI4PVA              Unit Nu.her     F001250247
Age/Sex         37/M             ROOll       411                 Registered Date 10/07/16
Status          DIS IN           Bed         02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA13 0722308 9                             (Continued)


MAGN400T3 - MAGNESIUM OXIDE 400 MG TABLET

  Dose        800 MG (2 TABLETS)
  Adain Route PO
  Start Date 10/ll/16-0815        Stop Date 10/ll/16 0816          DC Date 10/ll/16-0816
  Ordering Doctor     ZHANG,HONGYU MD
  Total Dispensed     2           Total Costs $0.07                 Total Charges $2.10
  Rx Nuaber   001877954

  Discontinue eo..ents Reached Stop Date


  History
   10/ll/16 0804 - POM ORDER                        by COZHANGH
   10/ll/16 0808 - VERIFIED                         by FIANDERC
   10/ll/16 0816 - DISCONTINUE                      by PHABKGJOB     Ef f:   10/11/16 0816
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date
   10/ll/16 0840 - DEBIT                            by LHOKE
        ITEMS: 2     DOSES: 1

Adiain Date Tiae User       Given Bag Reason Cc:xle                Iten.s           Charge
10/ll/16    0842 FIHOKEL       Y                                        2             0.00
(10/ll/16) (0815) Dose: 800 MG


  Adain Totals                                                         2                    0
            Case 2:18-cv-00924-PD       Document 15-5      Filed 05/03/18   Page 40 of 81

DATE: ll/03/16 @ 0002            Mercy Fitzgerald Hospital PHA *LIVE*                         PAGE 100
USER: MT                          Medication Administration Summary

Patient                                         Responsible Doctor LITTMAN,MARIO, MD
Account Hu.her· :FAi3o7223oa9·     Location    FI4PVA             Unit HUlllber   F001250247
Age/Sex         37/M               RCJCD.      411                Registered Date 10/07/16
Status          DIS IN             Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                  FA1307223089                           (Continued)


PHOS250T4 - NEUTRA PHOS 250 MG TABLET

  Dose         500 MG (2 TABLETS)
  Adlain Route PO
  Start Date 10/ll/16-0815         Stop Date 10/ll/16 0816          DC Date 10/ll/16-0816
  Ordering Doctor      ZHANG,HONGYU MD
  Total Dispensed      2           Total Costs $0.42                 Total Charges $2.50
  Rx NuJRber   001877955

  Discontinue Colllll.ents Reached Stop Date


  History
   10/ll/16 0804 - POM ORDER                         by COZHANGH
   10/ll/16 0808 - VERIFIED                          by FIANDERC
   10/ll/16 0816 - DISCONTINUE                       by PHABKGJOB     Eff: 10/11/16 0816
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date
   10/ll/16 0840 - DEBIT                             by LHOKE
        ITEMS: 2     DOSES: 1

Admin Date Tiae User        Given Bag Reason Code                   Items         Charge
10/ll/16    0842 FIHOKEL       Y                                        2           0.00
(10/ll/16) (0815) Dose: 500 MG


  Admin Totals                                                          2                 0
           Case 2:18-cv-00924-PD      Document 15-5     Filed 05/03/18   Page 41 of 81

DATE: ll/03/16 @ 0002        Mercy Fitzgerald Hospital PHA *LIVE*                         PAGE 101
USER: MT                      Medication Administration Summary

Patient                                     Responsible Doctor LITTMAN.MARIO, MD
A=unt Hwaber FA1307223089      Lcx:ation   FI4PVA             Unit Hum.her    F001250247
Age/Sex      37/M              Rooa        411                Registered Date 10/07/16
Status       DIS IN            Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO              FA1307223089                            (Continued)


ENOX40DI - ENOXAPARIN SODIUM 40 MG/0.4 ML DISP.SYRIN

  Dose         40 MG (0.4 ML)
  Adm.in Route SUBQ
  Start Date 10/11/16-1045         Stop Date None                DC Date ll/Ol/16-2054
  Ordering Doctor      BHARGAVA,SURBHI MD
  Total Dispensed      20          Total Costs $76.00             Total Charges $630.00
  Rx Nuaber    001878241

  Discontinue Comments DC'd by Discharge


  History
   10/ll/16 1042 - POM ORDER                     by COBHARGS
   10/l l/16 1042 - NOW DOSE                     by COBHARGS
      Now Dose: 10/ll/16 1045
   10/ll/16 1042 - KEEP NEXT DOSE                by COBHARGS
      Keep Next Dose: 10/12/16 0900
   10/ll/16 1046 - VERIFIED                      by FI REAL ID
   10/ll/16 1114 - DEBIT                         by LHOKE
         ITEMS: 1     DOSES: 1
   10/12/16 0848 - DEBIT                         by LHOKE
         ITEMS: 1     DOSES: 1
   10/13/16 0807 - DEBIT                         by LHOKE
         ITEMS: 1     DOSES: 1
   10/14/16 0927 - DEBIT                         by LHOKE
         ITEMS: 1     DOSES: 1
   10/15/16 0800 - DEBIT                         by HBEURKET
         ITEMS: 1     DOSES: 1
   10/16/16 0804 - DEBIT                        by HBEURKET
         ITEMS: 1     DOSES: 1
   10/17/16 0905 - DEBIT                         by DMCCARTH
         ITEMS: 1     DOSES: 1
   10/18/16 0957 - DEBIT                        by DGILMAN
         ITEMS: 1     DOSES: 1
   10/19/16 0803 - DEBIT                        by DGILMAN
         ITEMS: 1     DOSES: 1
   10/20/16 0920 - DEBIT                        by DGILMAN
         ITEMS: 1     DOSES: 1
   10/21/16 0930 - DEBIT                        by DGILMAN
         ITEMS: 1     DOSES: 1
   10/22/16 0801 - DEBIT                        by MCAVANAU
         ITEMS: 1     DOSES: 1
   10/23/16 0808 - DEBIT                        by MCAVANAU
         ITEMS: 1     DOSES: 1
   10/25/16 0930 - DEBIT                        by DGILMAN
         ITEMS: 1     DOSES: 1
   10/26/16 0952 - DEBIT                        by DGILMAN
         ITEMS: 1     DOSES: 1
            Case 2:18-cv-00924-PD              Document 15-5   Filed 05/03/18    Page 42 of 81

DATE: ll/03/16 @ 0002            Mercy Fitzgerald Hospital PHA *LIVE*                             PAGE 102
USER: MT                          Medication Administration Summary

Patient                                             Resp:Jnsible Doctor LITTMAN,MARIO, MD
Account Nuaber. FAi:fo72i3089         Location     FI4PVA              Unit HWll.ber   F001250247
Age/Sex         37/M                  Roo11.       411                 Registered Date 10/07/16
Status          DIS IN                Bed          02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                      FA1307223089                            (Continued)

   10/27/16 0818 - DEBIT                                 by MMAXWELL
        ITEMS: 1      DOSES: 1
   10/28/16 0829 - DEBIT                                 by NC ARTER
        ITEMS: 1      DOSES: 1
   10/29/16 0841 - DEBIT                                 by MHALLAMY
        ITEMS: 1      DOSES: 1
   10/30/16 0732 - DEBIT                                 by ABLE ILER
        ITEMS: 1      DOSES: 1
   10/31/16 0846 - DEBIT                                 by KM OSLEY
        ITEMS: 1      DOSES: 1
   ll/Ol/16 1025 - DEBIT                                 by MHALLAMY
        ITEMS: 1      DOSES: 1
   ll/Ol/16 1310 - CREDIT                                by MHALLAMY
         ITEMS: 1     DOSES: 1
   ll/Ol/16 2055 - DISCONTINUE                           by DISCHARGE     Eff: ll/Ol/16 205 4
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
           DC'd by Discharge

Achain Date Time User       Given Bag Reason Code                       Iten.s         Cha!:qe
10/ll/16    1118 FIHOKEL      y                                              1           0. 0 0
(10/ll/16) (1045) Dose: 40 MG

10/12/16    0908 FIHOKEL      y                                             1            0.00
(10/12/16) (0900) Dose: 40 MG

10/13/16    0809 FIHOKEL      y                                             1            0.00
(10/13/16) (0900) Dose: 40 MG

10/14/16     0933 FIHOKEL      y                                            1            0.00
( 10/14/16) (0900) Dose: 40 MG

10/15/16    0807 FIBEURKH     y                                             1            0. 0 0
(10/15/16) (0900) Dose: 40 MG
10/16/16    0841 FIBEURKH     y                                             1            0.00
(10/16/16) (0900) Dose: 40 MG

10/17/16    0911 FIMCCARD     y                                             1            0.00
(10/17/16) (0900) Dose: 40 MG

10/18/16    0959 FIGILMAD     y                                             1            0.00
(10/18/16) (0900) Dose: 40 MG

10/19/16    0 9 0 3 FIG ILMAD y                                             1            0.00
(10/19/16) (0900) Dose: 40 MG

10/20/16     0 9 2 4 FIG ILMAD    y                                         1            0.00
            Case 2:18-cv-00924-PD         Document 15-5      Filed 05/03/18   Page 43 of 81

DATE: ll/03/16 @ 0002             Mercy Fitzgerald Hospital PHA *LIVE*                          PAGE 103
USER: MT                           Medication Administration Summary

Patient                                           Responsible Doctor LITTMAN.MARIO, MD
Account Humber :F.l!.f3b7223b89     iOC:ati.;n   FI4PVA             Unit Nu..ber    F001250247
Age/Sex        37/M                 Rooa         411                Registered Date 10/07/16
Status         DIS IN               Bed          02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                    FA1307223089                           (Continued)

( 10/20/16) (0900) Dose: 40 MG

10/21/16    0943 FIGILMAD     y                                           1           0. 0 0
(10/21/16) (0900) Dose: 40 MG

10/22/16    0814 FICAVANMl    y                                           1           0. 0 0
(10/22/16) (0900) Dose: 40 MG

10/23/16    0948 FICAVANMl    y                                           1           0.00
(10/23/16) (0900) Dose: 40 MG

10/24/16    0900 FIGILMAD          N        HOLD
(10/24/16) (0900) Dose: 0 MG

10/25/16    0935 FIGILMAD     y                                           1           0.00
(10/25/16) (0900) Dose: 40 MG

10/26/16    1002 FIGILMAD     y                                           1           0.00
(10/26/16) (0900) Dose: 40 MG

10/27/16    0826 FIMAXliJEM   y                                           1           0. 0 0
(10/27/16) (0900) Dose: 40 MG

10/28/16    0831 FICARTEN     y                                           1           0.00
(10/28/16) (0900) Dose: 40 MG

10/29/16    0902 FIHALLAM     y                                           1           0. 0 0
(10/29/16) (0900) Dose: 40 MG

10/30/16    0821 FIBLEILA     y                                          1            0. 0 0
(10/30/16) (0900) Dose: 40 MG

10/31/16    0858 FIMOSLEK     y                                          1            0.00
(10/31/16) (0900) Dose: 40 MG

ll/Ol/16     1036 FIHALLAM     y                                         1            0.00
( ll/Ol/16) (0900) Dose: 40 MG


  Ad.Jain Totals                                                        21                  0
            Case 2:18-cv-00924-PD       Document 15-5    Filed 05/03/18    Page 44 of 81

DATE: 11/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                         PAGE 104
USER: MT                       Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN,MARIO, MD
Account u:u~ ·FA.i3o7223oa9··    Location   FI4PVA             Unit Nwaber     F001250247
Age/Sex       37/M               Rcx:m      411                Registered Date 10/07/16
Status        DIS IN             Bed        02                 Discharged Date 11/01/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                            (Continued.)


INSU100V42 - INSULIN REGULAR, HUMAN 300 UNIT/3 ML VIAL

  Dose Instruction      SS LOW DOSE
                        LOW INTENSITY SCALE:
                        Blood Glucose     Coverage insulin
                        <80mg/dL      Notify House Officer and see below
                        80 - 149       Continue Current regimen
                        150 - 199              2 units
                        200 - 249              3 units
                        250 - 299              4 units
                        300 - 349              5 units
                        350 - 400              6 units
                        Over 400           Call House Officer

                        Notify House Officer for:
                        A)Accu-checks <80mg/dL or >400mg/dL for evaluation and
                        adjument of regimen.
                        B)Change in dietary order (ex:NPO/tube feeding on hold,
                        nausea/vomiting, <l/2 of meal eaten, etc.)
                        C)BG<70mg/dL:
                             a.If pt can take by mouth give 15gm of fast acting
                        carbohydrate(4oz fruit juice/non-diet soda OR 4 glucose
                        tabs OR Boz non-fat milk)
                             b.If pt cannot receive oral carbohydrates, give 50%
                        dextrose - 25ml (1/2 amp) x 1
                             c.Check accu-check every 20min until>70mg/dL.
                        Repeat above treatment (a. orb.) if <70mg/dL
                        D)For ccu-check reading <40 or >450mg/dL, draw and send a
                        STAT serum glucose
  Admin Route SUBQ
  Start Date 10/12/16-0745        Stop Date 10/29/16 0103        DC Date 10/29/16-0103
  Ordering Doctor     MALIK.AMMAR M MD
  Total Dispensed     12          Total Costs $174.00             Total Charges $0.00
  Rx Nuaber   001879318



  History
   10/12/16 0737 - POM ORDER                      by COMAL IA
   10/12/16 0737 - NOW DOSE                       by COMALIA
      Now Dose:  10/12/16 0745
   10/12/16 0737 - KEEP NEXT DOSE                 by COMAL IA
      Keep Next Dose:   10/12/16 1100
   10/12/16 0751 - VERIFIED                       by FIJASINT
   10/13/16 0452 - DEBIT                          by VDAMATO
        ITEMS: 2      DOSES: 2
   10/14/16 0403 - DEBIT                          by VDAMATO
        ITEMS: 2      DOSES: 2
   10/22/16 1845 - DEBIT                          by MCAVANAU
             Case 2:18-cv-00924-PD           Document 15-5       Filed 05/03/18    Page 45 of 81

DATE: ll/03/16 @ 0002             Mercy Fitzgerald Hospital PHA *LIVE*                             PAGE 105
USER: MT                           Medication Administration Summary

Patient                                               Responsible Doctor LITTMAN.MARIO, MD
Account Hllllher · FAf3o7223089   ·   Location       FI4PVA             Unit Humber     F001250247
Age/Sex            37/M               Rooa           411                Registered Date 10/07/16
Status             DIS IN             Bed            02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                       FA1307223089                             (Continued)

        ITEMS: 4     DOSES: 4
   10/26/16 0439 - DEBIT                       by VDAMATO
        ITEMS: 2     DOSES: 2
   10/27/16 0459 - DEBIT                       by VDAMATO
        ITEMS: 2     DOSES: 2
   10/29/16 0104 - DISCONTINUE                 by COMANZH       Eff: 10/29/16 0103
      EDIT DOCTOR: MANZOOR,HOORIA MD
      EDIT SOURCE: Provider Source
   10/29/16 0104 - EDIT                        by COMANZH
      EDIT DOCTOR: MANZOOR,HOORIA MD
      EDIT SOURCE: Provider Source
      FROM:
        START: 10/12/16-0745   STOP: None   SOFT STOP:
      TO:
        START: 10/12/16-0745   STOP: 10/29/16-0103   SOFT STOP:
   10/29/16 0104 - POM COPY AND EDIT           by COMANZH
      TO: Rx #U001146335

Adm.in Date Ti11.e User          Given Bag Reason Code                   I tells         Charge
10/12/16     0745 FIHOI<EL          N      GLUCOSE
(10/12/16) ( 0 74 5 ) Dose : 0 UNIT

10/12/16     110 0 FIHOKEL         N           LBS
(10/12/16) ( 110 0 ) Dose : 0 UNIT

10/12/16    17 0 0 FIMCGILM    N               GLUCOSE
(10/12/16) (1700) Dose: 0 UNIT

10/12/16    2154 FIMCGILM      N               GLUCOSE
(10/12/16) (2300) Dose: 0 UNIT

10/13/16    0500 FIDAMATV      N               GLUCOSE
(10/13/16) (0500) Dose: 0 UNIT

10/13/16     110 0 FIHOKEL         N           GLUCOSE
(10/13/16) ( 110 0 ) Dose : 0 UNIT

10/13/16    1649 FIMCGILM      N               GLUCOSE
(10/13/16) (1700) Dose: 0 UNIT

10/13/16    2300 FIDAMATV      N               GLUCOSE
(10/13/16) (2300) Dose: 0 UNIT

10/14/16    0500 FIDAMATV      N               GLUCOSE
(10/14/16) (0500) Dose: 0 UNIT

10/14/16     1100 FIHOI<EL          N         GLUCOSE
(10/14/16) ( 11 0 0 ) Dose : 0 UNIT

10/14/16      17 0 0 FIHOKEL          N        GLUCOSE
             Case 2:18-cv-00924-PD          Document 15-5     Filed 05/03/18   Page 46 of 81

DATE: 11/03/16 @ 0002             Mercy Fitzgerald Hospital PHA *LIVE*                         PAGE 106
USER: MT                           Medication Administration Summary

Patient                                             Responsible Doctor LITTMAN,MARIO, MD
Account HUllber FAi3bi223089         Location      FI4PVA             Unit Hu.her     F001250247
Age/Sex         37/M                 RCXJa         411                Registered Date 10/07/16
Status          DIS IN               Bed           02                 Discharged Date 11/01/16

EFUNNUGA,OLUTOKUNBO                      FA1307223089                          (Continued)

(10/14/16) (1700) Dose: 0 UNIT

10/14/16     2144 FIMCCORJ      N             GLUCOSE
( 10/14/16) (2300) Dose: 0 UNIT

10/15/16    0500 FIMCCORJ      N              GLUCOSE
(10/15/16) (0500) Dose: 0 UNIT

10/15/16     110 0 FIBEURKH         N         GLUCOSE
(10/15/16) ( 11 0 0 ) Dose : 0 UNIT

10/15/16    1700 FIBEURKH          N          GLUCOSE
(10/15/16) (17 0 0 ) Dose : 0 UNIT

10/15/16    2300 FIREVAKN      N              GLUCOSE
(10/15/16) (2300) Dose: 0 UNIT

10/16/16    0500 FIREVAKN      N              GLUCOSE
(10/16/16) (0500) Dose: 0 UNIT

10/16/16      11 0 0 F IBEURKH       N        GLUCOSE
( 10/16/16) ( 11 0 0 ) Dose : 0 UNIT

10/16/16    1 7 0 0 F IBEURKH  N              GLUCOSE
(10/16/16) (1700) Dose: 0 UNIT

10/16/16     2300 FIREVAKN          N         GLUCOSE
(10/16/16) ( 23 0 0 ) Dose : 0 UNIT

10/17/16    0443 FIREVAKN      N              GLUCOSE
(10/17/16) (0500) Dose: 0 UNIT

10/17/16     1100 FIMCCARD          N         GLUCOSE
(10/17/16) ( 11 0 0 ) Dose : 0 UNIT

10/17/16    1700 FIMCCARD      N             GLUCOSE
(10/17/16) (1700) Dose: 0 UNIT

10/17/16    2237 FIROSSI.A     N             GLUCOSE
(10/17/16) (2300) Dose: 0 UNIT

10/18/16    0500 FIROSSI.A     N             GLUCOSE
(10/18/16) (0500) Dose: 0 UNIT
10/18/16     1100 FIGILMAD         N         GLUCOSE
(10/18/16) ( 110 0 ) Dose : 0 UNIT

10/18/16    1638 FIBURKER      N             LBS
(10/18/16) (1700) Dose: 0 UNIT
             Case 2:18-cv-00924-PD          Document 15-5    Filed 05/03/18   Page 47 of 81

DATE: ll/03/16 @ 0002             Mercy Fitzgerald Hospital PHA *LIVE*                        PAGE 107
USER: MT                           Medication Administration Summary

Patient                                           Resp:msible Doctor LITTMAN.MARIO, MD
Account Hllllher.Fi..f3o7223o89.     Location    FI4PVA             Unit Hu.her     F001250247
Age/Sex          37/M                Rooa        411                Registered Date 10/07/16
Status           DIS IN              Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                      FA1307223089                         (Continued)

10/18/16    2216 FIROSSI.A.    N              GLUCOSE
(10/18/16) (2300) Dose: 0 UNIT

10/19/16     0426 FIROSSI.A.    N             GLUCOSE
( 10/19/16) (0500) Dose: 0 UNIT

10/19/16     1100 FIGILMAD         N          GLUCOSE
(10/19/16) ( 110 0 ) Dose : 0 UNIT

10/19/16     17 0 0 FIDONAHS        N         GLUCOSE
(10/19/16) ( 17 0 0 ) Dose : 0 UNIT

10/19/16    2233 FIDONAHS      N              GLUCOSE
(10/19/16) (2300) Dose: 0 UNIT

10/20/16    0418 FIMCDEVD      N              GLUCOSE
(10/20/16) (0500) Dose: 0 UNIT

10/20/16     110 0 FIGILMAD        N          GLUCOSE
(10/20/16) ( 110 0 ) Dose : 0 UNIT

10/20/16    17 0 0 FIDONAHS    N              GLUCOSE
(10/20/16) (1700) Dose: 0 UNIT

10/20/16    2242 FIDONAHS      N              GLUCOSE
(10/20/16) (2300) Dose: 0 UNIT

10/21/16    0500 FIKRETZJ      N              GLUCOSE
(10/21/16) (0500) Dose: 0 UNIT

10/21/16      1100 FIGILMAD          N        GLUCOSE
( 10/21/16) ( 11 0 0 ) Dose : 0 UNIT

10/21/16    1653 FIDONAHS      N              GLUCOSE
(10/21/16) (1700) Dose: 0 UNIT
10/21/16    2239 FIDONAHS      N              GLUCOSE
(10/21/16) (2300) Dose: 0 UNIT
10/22/16    0500 FIKRETZJ      N              GLUCOSE
(10/22/16) (0500) Dose: 0 UNIT

10/22/16    1100 FICAVANMl     N              GLUCOSE
(10/22/16) (1100) Dose: 0 UNIT

10/22/16    1850 FICAVANMl     y                                         1
(10/22/16) (1700) Dose: 3 UNIT

10/22/16    2218 FIDONAHS      N              GLUCOSE
(10/22/16) (2300) Dose: 0 UNIT
             Case 2:18-cv-00924-PD          Document 15-5   Filed 05/03/18   Page 48 of 81

DATE: ll/03/16 @ 0002             Mercy Fitzgerald Hospital PHA *LIVE*                       PAGE 108
USER: MT                           Medication Administration Summary

Patient                                           Responsible Doctor LITTMAN.MARIO, MD
A=unt Huaber FA1307223089            Location    FI4PVA             Unit Nwaber     F001250247
Age/Sex      37/M                    Rooa        411                Registered Date 10/07/16
Status       DIS IN                  Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                      FA1307223089                        (Continued)

10/23/16    0500 FIDONAHS      N              GLUCOSE
(10/23/16) (0500) Dose: 0 UNIT

10/23/16    1100 FICAVANMl     N              GLUCOSE
(10/23/16) (1100) Dose: 0 UNIT

10/23/16    1659 FICAVANMl     N              GLUCOSE
(10/23/16) (1700) Dose: 0 UNIT

10/23/16    2213 FIROSSIA      N              GLUCOSE
(10/23/16) (2300) Dose: 0 UNIT

10/24/16    0500 FIROSSIA      N              GLUCOSE
(10/24/16) (0500) Dose: 0 UNIT

10/24/16     110 0 FIGILMAD        N          GLUCOSE
(10/24/16) ( 110 0 ) Dose : 0 UNIT
10/24/16      1700 FIYOUNGS          N        GLUCOSE
( 10/24/16) ( 17 0 0 ) Dose : 0 UNIT

10/24/16    2201 FIYOUNGS      N              GLUCOSE
(10/24/16) (2300) Dose: 0 UNIT

10/25/16     0500 FIBURKEC           N        GLUCOSE
(10/25/16) ( 0 5 0 0 ) Dose : 0 UNIT

10/25/16     1100 FIGILMAD         N          GLUCOSE
(10/25/16) ( 110 0 ) Dose : 0 UNIT

10/25/16    1631 FIYOUNGS      N              GLUCOSE
(10/25/16) (1700) Dose: 0 UNIT
10/25/16    2205 FIYOUNGS      N             GLUCOSE
(10/25/16) (2300) Dose: 0 UNIT
10/26/16    0500 FIDAMATV      N             GLUCOSE
(10/26/16) (0500) Dose: 0 UNIT

10/26/16     1100 FIGILMAD          N        GLUCOSE
(10/26/16) ( 11 0 0 ) Dose : 0 UNIT

10/26/16    1700 FINOGAT       N             GLUCOSE
(10/26/16) (1700) Dose: 0 UNIT

10/26/16    214 7 FIMCGILM     N             GLUCOSE
(10/26/16) (2300) Dose: 0 UNIT

10/27/16      0500 FIDAMATV         N        GLUCOSE
             Case 2:18-cv-00924-PD           Document 15-5   Filed 05/03/18   Page 49 of 81

DATE: ll/03/16 @ 0002             Mercy Fitzgerald Hospital PHA *LIVE*                        PAGE 109
USER: MT                           Medication Administration Summary

Patient                                           Responsible Doctor LITTMAN.MARIO, MD
Account Hwaber FA1307223089          Location    FI4PVA             Unit Hum.her    F001250247
Age/Sex        37/M                  RCXD.       411                Registered Date 10/07/16
Status         DIS IN                Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                      FA1307223089                         (Continued)

(10/27/16) (0500) Dose: 0 UNIT

10/27/16     1100 FIMAXT.JEM       N          GLUCOSE
(10/27/16) ( 11 0 0 ) Dose: 0 UNIT

10/27/16      1700 FISTASKJ          N        GLUCOSE
( 10/27/16) ( 17 0 0 ) Dose : 0 UNIT

10/27/16    2203 FIDESALJ      N              GLUCOSE
(10/27/16) (2300) Dose: 0 UNIT

10/28/16     0500 FIGARDOA          N         GLUCOSE
(10/28/16) ( 05 0 0 ) Dose : 0 UNIT

10/28/16      1100 FICARTEN          N        GLUCOSE
( 10/28/16) ( 11 0 0 ) Dose : 0 UNIT

10/28/16     1700 FICARTEN      N             GLUCOSE
( 10/28/16) (1700) Dose: 0 UNIT

10/28/16    2115 FIKIMJ        N              GLUCOSE
(10/28/16) (2300) Dose: 0 UNIT


  Admin Totals                                                            1
               Case 2:18-cv-00924-PD     Document 15-5      Filed 05/03/18    Page 50 of 81

DATE: ll/03/16 @ 0002           Mercy Fitzgerald Hospital PHA *LIVE*                          PAGE 110
USER: MT                         Medication Administration Summary

Patient                                          Responsible Doctor LITTMAN,MARIO, MD
Account HUllher FA1307223089       Lcx:;ation   FI4PVA             Unit HUlllber   F001250247
Age/Sex         37/M               Roca         411                Registered Date 10/07/16
Status          DIS IN             Bed          02                 Discharged Date ll/Ol/16

EFUNNUGA.OLUTOKUNBO                  FA1307223089                             (Continued)


DEXT4TAB - Dextrose 4 GM TAB.CHEW

  Dose        16 GM (4 TAB.CHEWS)
  Ad.in Route PO
  Frequency   PRN (PRN) PAR= PRN REASON: LBS - LOW BLOOD SUGAR
  Start Date 10/12/16-1145        Stop Date None             DC Date 11/01/16-2054
  Ordering Doctor     MALIK,AMMAR M MD
  Total Dispensed     4           Total Costs $0.62            Total Charges $6.00
  Rx Nu:aber  001879709

  Discontinue Comaents DC'd by Discharge


  History
   10/12/16 1142 - ENTER                              by FIREALID
   10/12/16 1240 - DEBIT                              by LHOKE
         ITEMS: 4     DOSES: 1
   ll/Ol/16 2055 - DISCONTINUE                        by DISCHARGE     Eff: ll/Ol/16 205 4
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
           DC'd by Discharge

A.ch.in Date   Ti11.e ~U=s=er~-- Given Bag Reason Code               lten.s        Charge
10/12/16       1241 FIHOKEL        Y                                     4
                       Dose: 16 GM


  Ad.in Totals                                                           4
           Case 2:18-cv-00924-PD      Document 15-5     Filed 05/03/18   Page 51 of 81

DATE: 11/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                       PAGE 111
USER: MT                       Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN.MARIO, MD
Account Hu.her FA1307223089      Location   FI4PVA             Unit Hu.her     F001250247
Age/Sex        37/M              Rooa       411                Registered Date 10/07/16
Status         DIS IN            Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO               FA1307223089                           (Continued)


DEXT50DI3 - DEXTROSE 50% 25 GM/50 ML DISP.SYRIN

  Dose        12.5 GM (25 ML)
  Adain Route IV
  Frequency   PRN (PRN) PAR= PRN REASON: LBS - LOW BLOOD SUGAR
  Start Date 10/12/16-1145        Stop Date None             DC Date ll/Ol/16-2054
  Ordering Doctor     MAIIK,AMMAR M MD
  Total Dispensed     0           Total Costs $                Total Charges $
  Rx Nuaber   001879710

  Discontinue Comaents DC'd by Discharge


  History
   10/12/16 1142 - ENTER                          by FIREAIID
   ll/Ol/16 2055 - DISCONTINUE                    by DI SCH.ARGE   Eff: ll/Ol/16 2054
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          DC'd by Discharge
            Case 2:18-cv-00924-PD        Document 15-5      Filed 05/03/18      Page 52 of 81

DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                                PAGE 112
USER: MT                       Medication Administration Summary

Patient                                           Responsible Doctor LITTMAN.MARIO, MD
Account Hwaber FA1307223089      iocat:.ic::in   FI4PVA             Unit Hu.her     F001250247
Age/Sex        37/M              Rooa            411                Registered Date 10/07/16
Status         DIS IN            Bed             02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                                (Continued)


DOXA1TAB19 - DOXAZOSIN MESYLATE 1 MG TABLET (CARDURA)

  Dose        1 MG (1 TABLET)
  Ad.in Route PO
  Start Date 10/12/16-1200        Stop Date 10/12/16 1201             DC Date 10/12/16-1201
  Ordering Doctor     ZHANG.HONGYU MD
  Total Dispensed     1           Total Costs $0.50                    Total Charges $1.55
  Rx Number   001879752

  Discontinue Comaents Reached Stop Date


  History
   10/12/16 1159 - POM ORDER                           by COZHANGH
   10/12/16 1201 - EDIT                                by FIREALID
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/12/16 1201 - VERIFIED                            by FIREALID
   10/12/16 1201 - DISCONTINUE                         by PHABKGJOB     Eff: 10/12/16 1201
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date
   10/12/16 1230 - DEBIT                               by LHOKE
        ITEMS: 1     DOSES: 1

Adiain Date Time User        Given Bag Reason Code                    I tells         Charge
10/12/16    1241 FIHOKEL       Y                                            1           0.00
(10/12/16) (1200) Dose: 1 MG


  A.diain Totals                                                           1                  0
               Case 2:18-cv-00924-PD       Document 15-5     Filed 05/03/18   Page 53 of 81

DATE: ll/03/16 @ 0002             Mercy Fitzgerald Hospital PHA *LIVE*                        PAGE 113
USER: MT                           Medication Administration Summary

Patient                                          Responsible Doctor LITTMAN.MARIO. MD
Account Hwaber FA1307223089          Location   FI4PVA             Unit Number     F001250247
Age/Sex        37/M                  Rcx:m.     411                Registered Date 10/07/16
Status         DIS IN                Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA.OLUTOKUNBO                    FA1307223089                           (Continued)


DOXA1TAB19 - DOXAZOSIN MESYLATE 1 MG TABLET (CARDURA)

  Dose         1 MG (1 TABLET)
  Adm.in Route PO
  Start Date 10/13/16-0900         Stop Date None                    DC Date 10/23/16-0730
  Ordering Doctor      ZHANG.HONGYU MD
  Total Dispensed      8           Total Costs $4.00                  Total Charges $12.40
  Rx Nu:aber   001879758



  History
   10/12/16 1200 - POM ORDER                           by COZHANGH
   10/12/16 1202 - EDIT                                by FIREALID
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/12/16 1202 - EDIT                                by FIREALID
      EDIT DOCTOR: ZHANG.HONGYU MD
      FROM:
        SIG: BEDTIME
        START: 10/13/16-2100   STOP: None           SOFT STOP:
      TO:
        SIG: DAILY
        START: 10/13/16-0900   STOP: None           SOFT STOP:
        DUPLICATE COMMENT: RPH
   10/12/16 1202 - VERIFIED                            by FIREALID
   10/13/16 0806 - DEBIT                               by LHOKE
        ITEMS: 1     DOSES: 1
   10/14/16 0926 - DEBIT                               by LHOKE
        ITEMS: 1     DOSES: 1
   10/15/16 0800 - DEBIT                               by HBEURKET
        ITEMS: 1     DOSES: 1
   10/16/16 0803 - DEBIT                               by HBEURKET
        ITEMS: 1     DOSES: 1
   10/19/16 0802 - DEBIT                               by DGILMAN
        ITEMS: 1     DOSES: 1
   10/20/16 0920 - DEBIT                               by DGILMAN
        ITEMS: 1     DOSES: 1
   10/21/16 0930 - DEBIT                               by DGILMAN
        ITEMS: 1     DOSES: 1
   10/22/16 0800 - DEBIT                               by MCAVANAU
        ITEMS: 1     DOSES: 1
   10/23/16 0733 - DISCONTINUE                         by COVUEND      Eff: 10/23/16 0730
      EDIT DOCTOR: VALENTINO.DOMINIC J. DO
      EDIT SOURCE: Provider Source

.Adm.in Date   Tillle =Us=e=r=----- Given Bag Reason Ccxle           Iten.s         Charge
             Case 2:18-cv-00924-PD           Document 15-5      Filed 05/03/18    Page 54 of 81

DATE: 11/03/16 @ 0002           Mercy Fitzgerald Hospital PHA *LIVE*                               PAGE 114
USER: MT                         Medication Administration Summary

Patient                                            Resi:x:>nsible Doctor LITTMAN.MARIO, MD
Account HUllber.FAi3oi223089         Location     FI4PVA                Unit Hu..ber    F001250247
Age/Sex         37/M                 ROOll        411                   Registered Date 10/07/16
Status          DIS IN               Bed          02                    Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                    FA1307223089                              (Continued)

10/13/16    0810 FIHOKEL         y                                         1             0.00
(10/13/16) (0900) Dose: 1 MG

10/14/16    0932 FIHOKEL         y                                         1             0. 0 0
(10/14/16) (0900) Dose: 1 MG

10/15/16    0806 FIBEURKH        y                                         1             0. 0 0
(10/15/16) (0900) Dose: 1 MG

10/16/16    0840 FIBEURKH        y                                         1             0. 0 0
(10/16/16) (0900) Dose: 1 MG

10/17/16    0900 FIMCCARD        N           REFUSED
(10/17/16) (0900) Dose: 0 MG

10/18/16    0 9 0 0 FIG ILMAD    N           IS
(10/18/16) (0900) Dose: 0 MG

10/19/16    0903 FIGILMAD        y                                         1             0.00
(10/19/16) (0900) Dose: 1 MG

10/20/16    0923 FIGILMAD        y                                         1             0.00
(10/20/16) (0900) Dose: 1 MG

10/21/16    0943 FIGILMAD        y                                         1             0.00
(10/21/16) (0900) Dose: 1 MG

10/22/16    0815 FICAVANMl       y                                         1             0.00
(10/22/16) (0900) Dose: 1 MG


  Acmin Totals                                                             8                   0
            Case 2:18-cv-00924-PD            Document 15-5    Filed 05/03/18    Page 55 of 81

DATE: ll/03/16 @ 0002           Mercy Fitzgerald Hospital PHA *LIVE*                             PAGE 115
USER: MT                         Medication Administration Summary

Patient                                           Responsible Doctor LITTMAN.MARIO, MD
Account Hllllher FA1307223089         Location   FI4PVA             Unit Nwtber     F001250247
Age/Sex          37/M                 Roo•       411                Registered Date 10/07/16
Status           DIS IN               Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                     FA1307223089                            (Continued)


RISPlTAB - risperiDONE 1 MG TABLET

  Dose        1 MG (1 TABLET)
  Adain Route PO
  Start Date 10/12/16-1145        Stop Date None                       DC Date 10/15/16-1205
  Ordering Doctor     VALENTINO.DOMINIC J, DO
  Total Dispensed     7           Total Costs $1.75                     Total Charges $8.75
  Rx Nuaber   001879823



  History
   10/12/16 1224 - POM ORDER                           by COVALEND
   10/12/16 1224 - NOW DOSE                            by COVALEND
      Now Dose: 10/12/16 1145
   10/12/16 1224 - KEEP NEXT DOSE                      by COVALEND
      Keep Next Dose: 10/12/16 2100
   10/12/16 1313 - VERIFIED                            by FIL INC
   10/12/16 1318 - DEBIT                               by LHOKE
        ITEMS: 1      DOSES: 1
   10/12/16 2030 - DEBIT                               by MMCGILL
        ITEMS: 1     DOSES: 1
   10/13/16 0806 - DEBIT                               by LHOKE
        ITEMS: 1     DOSES: 1
   10/13/16 2036 - DEBIT                               by MM CG ILL
        ITEMS: 1     DOSES: 1
   10/14/16 0926 - DEBIT                               by LHOKE
        ITEMS: 1     DOSES: 1
   10/14/16 2006 - DEBIT                               by JMCCORMICK
        ITEMS: 1     DOSES: 1
   10/15/16 0800 - DEBIT                               by HBEURKET
        ITEMS: 1     DOSES: 1
   10/15/16 1206 - DISCONTINUE                         by COZHANGH       Eff: 10/15/16 1205
      EDIT DOCTOR: ZH.ANG,HONGYU MD
      EDIT SOURCE: Provider Source
   10/15/16 1206 - POM COPY AND EDIT                   by COZHANGH
      TO: Rx #U001137428

Adain Date Tim.a User              Given Bag Reason Code               Iten.s         Cha~e
10/12/16      1320 FIHOKEL           y                                      1           0.00
( 10/12/16) ( 11 4 5 ) Dose : 1 MG

10/12/16    2154 FIMCGILM         y                                        1            0. 0 0
(10/12/16) (2100) Dose: 1 MG

10/13/16    0810 FIHOKEL          y                                        1            0. 0 0
(10/13/16) (0900) Dose: 1 MG

10/13/16     2043 FIMCGILM        y                                        1            0. 0 0
              Case 2:18-cv-00924-PD        Document 15-5     Filed 05/03/18    Page 56 of 81

DATE: ll/03/16 @ 0002           Mercy Fitzgerald Hospital PHA *LIVE*                            PAGE 116
USER: MT                         Medication Administration Summary

Patient                                          Responsible Doctor LITTMAN,MARIO, MD
Account Huaber :FA.f3b7223o89        Location   FI4PVA             Unit HWRber     F001250247
Age/Sex        37/M                  Rooa       411                Registered Date 10/07/16
Status         DIS IN                Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                   FA1307223089                            (Continued)

(10/13/16) (2100) Dose: 1 MG

10/14/16    0932 FIHOKEL         y                                      1             0.00
(10/14/16) (0900) Dose: 1 MG

10/14/16    2008 FIMCCORJ        y                                      1             0.00
(10/14/16) (2100) Dose: 1 MG

10/15/16    0806 FIBEURKH        y                                      1             0.00
(10/15/16) (0900) Dose: 1 MG


  Adain Totals                                                          7                   0
              Case 2:18-cv-00924-PD     Document 15-5      Filed 05/03/18    Page 57 of 81

DATE: 11/03/16 @ 0002          Mercy Fitzgerald Hospital PHA *LIVE*                          PAGE 117
USER: MT                        Medication Administration Summary
Patient                                        Resp:Jnsible Doctor LITTMAN,MARIO, MD
Account Hu.her FA1307223089      iocaiic::m   FI4PVA              Unit Number     F001250247
Age/Sex        37/M              Rooa         411                 Registered Date 10/07/16
Status         DIS IN            Bed          02                  Discharged Date 11/01/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                              (Continued)

ACET-33 - Acetaminophen 500 MG TABLET

  Dose         500 MG (1 TABLET)
  Ach.in Route PO
  Frequency    Q6H (PRN) PAR= PRN REASON: Fever
  Start Date 10/12/16-2015          Stop Date None                 DC Date 10/20/16-1911
  Ordering Doctor      OLUBIYI,OLUTAYO I MD
  Total Dispensed      13           Total Costs $0.13               Total Charges $13.65
  Rx Nua.ber   001880249



  History
   10/12/16 2016 - POM ORDER                        by COOLUBIO
   10/12/16 2017 - VERIFIED                         by FIL INC
   10/13/16 0158 - DEBIT                            by VDAMATO
        ITEMS: 1       DOSES: 1
   10/15/16 0800 - DEBIT                            by HBEURKET
        ITEMS: 1       DOSES: 1
   10/15/16 1953 - DEBIT                            by NREVAK
        ITEMS: 1       DOSES: 1
   10/16/16 0452 - DEBIT                            by NREVAK
        ITEMS: 1       DOSES: 1
   10/16/16 0803 - DEBIT                            by HBEURKET
        ITEMS: 1       DOSES: 1
   10/16/16 1727 - DEBIT                            by HBEURKET
        ITEMS: 1       DOSES: 1
   10/16/16 19 4 8 - DEBIT                          by NREVAK
        ITEMS: 1       DOSES: 1
   10/17/16 1531 - DEBIT                            by DMCCARTH
        ITEMS: 1       DOSES: 1
   10/18/16 1622 - DEBIT                            by KBURKE
        ITEMS: 1       DOSES: 1
   10/18/16 1629 - DEBIT                            by KB UR KE
        ITEMS: 1       DOSES: 1
   10/19/16 1148 - DEBIT                            by DGILM.AN
        ITEMS: 1       DOSES: 1
   10/19/16 2236 - DEBIT                            by MMCGILL
        ITEMS: 1       DOSES: 1
   10/20/16 0010 - DEBIT                            by DMCDEVITT
        ITEMS: 1       DOSES: 1
   10/20/16 1913 - DISCONTINUE                      by COGEVORD      Eff: 10/20/16 1911
      EDIT DOCTOR: GEVORGYAN.DAVID MD
      EDIT SOURCE: Provider Source

Ad.min Date   Tia.e User       Given Bag Reason Code               I tells        Charae
10/13/16      0204 FIDAMATV       y                                      1
                     Dose: 500 MG
           Case 2:18-cv-00924-PD        Document 15-5    Filed 05/03/18   Page 58 of 81

DATE: ll/03/16 @ 0002        Mercy Fitzgerald Hospital PHA *LIVE*                         PAGE 118
USER: MT                      Medication Administration Summary

Patient                                        Responsible Doctor LITTMAN.MARIO, MD
Account H~rFAi3bi223089            Location   FI4PVA             Unit Hu.her     F001250247
Age/Sex       37/M                 RCXJa      411                Registered Date 10/07/16
Status        DIS IN               Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                  FA1307223089                         (Continued)

10/15/16    2002 FIREVAKN      y                                      1
                  Dose: 500 MG

10/16/16    0437 FIREVAKN      y                                      1
                  Dose: 500 MG

10/16/16    0840 FIBEURKH      y                                      1
                  Dose: 500 MG

10/16/16    1732 FIEEURKH      y                                      1
                  Dose: 500 MG

10/16/16    1954 FIREVAKN      y                                      1
                  Dose: 500 MG

10/17/16    1536 FI MCCARD     y                                      1
                  Dose: 500 MG

10/18/16    1639 FIBURKEK      y                                      1
                  Dose: 500 MG

10/19/16    1152 FIGILMAD      y                                      1
                  Dose: 500 MG

10/20/16    0012 FIMCDEVD      y                                      1
                  Dose: 500 MG

10/20/16    1429 FIGILMAD      y                                      1
                  Dose: 500 MG


  Admin Totals                                                       11
             Case 2:18-cv-00924-PD       Document 15-5    Filed 05/03/18      Page 59 of 81

DATE: ll/03/16 @ 0002           Mercy Fitzgerald Hospital PHA *LIVE*                           PAGE 119
USER: MT                         Medication Administration Summary

Patient                                       Resp:insible Doctor LITTMAN.MARIO, MD
Account NUJlber.:FAi3o7223o89     i~ii;:,n   FI4PVA              Unit Nu.her     F001250247
.Age/Sex         37/M             Rooa       411                 Registered Date 10/07/16
Status          DIS IN            Bed        02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                             (Continued)


ALBU3SOL - IPRATROPIUM/ALBUTEROL 3 ML AMPUL.NEB

  Dose         3 ML (1 AMPUL.NEB)
  Adm.in Route NEB
  Start Date 10/13/16-1600         Stop Date 10/13/16 1601        DC Date 10/13/16-1601
  Ordering Doctor      MALIK.AMMAR M MD
  Total Dispensed      0           Total Costs $                   Total Charges $
  Rx Nu:aber   001881279

  Discontinue CoaJRents Reached Stop Date


  History
   10/13/16 1554 - POM ORDER                       by COMALIA
   10/13/16 1555 - VERIFIED                        by FILINC
   10/13/16 1601 - DISCONTINUE                     by PHABKGJOB      Ef f: 10/13/16 1601
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date

.Adain Date Time User        Given Bag Reason Code                Itel'llS        Charge
10/13/16    1600 FILALUS       Y                                         1          0. 0 0
(10/13/16) (1600) Dose: 3 ML


  Adain Totals                                                          1                  0
            Case 2:18-cv-00924-PD      Document 15-5     Filed 05/03/18   Page 60 of 81

DATE: ll/03/16 @ 0002           Mercy Fitzgerald Hospital PHA *LIVE*                      PAGE 120
USER: MT                         Medication Administration Summary

Patient                                       Resp:>nsible Doctor LITTMAN.MARIO, MD
Account Nllllher FA1307223089     Location   FI4PVA              Unit Nuaber     F001250247
Age/Sex          37/M             Rcx:m.     411                 Registered Date 10/07/16
Status           DIS IN           Bed        02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                          (Continued)


FENT0.0533 - fentaNYL CITRATE/PF 100 MCG/2 ML

  Dose         50 MCG   (1 ML)
  Dose Instruction      IVP FOR CRITICAL CARE UNITS AND 5-SOUTH ONLY
  Achin Route IV
  Frequency   Q2H (PRN) PAR= PRN REASON: RASS goal -1/-2
  Start Date 10/14/16-0030        Stop Date None                 DC Date 10/14/16-0030
  Ordering Doctor     BORIKAR,MADHURA S MD
  Total Dispensed     0           Total Costs $                   Total Charges $
  Rx Nuaber   001881549



  History
   10/13/16 2311 - POM COPY AND EDIT               by COBORIKM
      FROM: Rx #001873868
   10/13/16 2312 - DISCONTINUE                     by COBORIKM     Eff: 10/14/16 003 0
      EDIT DOCTOR: BORIKAR,MADHURA S MD
      EDIT SOURCE: Provider Source
   10/13/16 2312 - VERIFIED                        by SYSTEM
      Verified in order to DC
            Case 2:18-cv-00924-PD             Document 15-5       Filed 05/03/18   Page 61 of 81

DATE: ll/03/16 @ 0002            Mercy Fitzgerald Hospital PHA *LIVE*                              PAGE 121
USER: MT                          Medication Administration Summary
Patient                                               Responsible Doctor LITTMAN.MARIO, MD
Account Hwa.her FA1307223089         iOc:;;:ti.;;n   FI4PVA             Unit N'Wllber   F001250247
Age/Sex         37/M                 Roc:m           411                Registered Date 10/07/16
Status          DIS IN               Bed             02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                     FA1307223089                               (Continued)

FENT0.0533 - fentaNYL CITRATE/PF 100 MCG/2 ML

  Dose         100 MCG (2 ML)
  Dose Instruction     IVP FOR CRITICAL CARE UNITS AND 5-SOUTH ONLY
  Adm.in Route IV
  Frequency    Q2H (PRN) PAR= PRN REASON: RASS goal -1
  Start Date 10/14/16-0030         Stop Date None             DC Date 10/15/16-1601
  Ordering Doctor      BORIKAR,MADHURA S MD
  Total Dispensed      15          Total Costs $4.05           Total Charges $33.75
  Rx Number    001881552



  History
   10/13/16 2312 - POM ORDER                               by COBORIKM
   10/13/16 2316 - VERIFIED                                by FIRECEVM
   10/14/16 0017 - EDIT                                    by COBORIKM
      EDIT DOCTOR: BORIKAR,MADHURA S MD
      EDIT SOURCE: Provider Source
      FROM:
        PRN REASON: RASS goal -1/-2
      TO:
        PRN REASON: RASS goal -1
   10/14/16 0020 - DEBIT                                   by VDAMATO
        ITEMS: 1     DOSES: 1
   10/14/16 0255 - DEBIT                                  by VD.A.MATO
        ITEMS: 1     DOSES: 1
   10/14/16 0506 - DEBIT                                  by VDAMATO
        ITEMS: 1     DOSES: 1
   10/14/16 0726 - DEBIT                                  by LHOKE
        ITEMS: 1     DOSES: 1
   10/14/16 0918 - DEBIT                                  by LHOKE
        ITEMS: 1     DOSES: 1
   10/14/16 1128 - DEBIT                                  by LHOKE
        ITEMS: 1     DOSES: 1
   10/14/'16 1705 -   DEBIT                               by LHOKE
        ITEMS: 1        DOSES:   1
   10/14/16 1958 -    DEBIT                               by JMCCORMICK
        ITEMS: 1        DOSES:   1
   10/14/16 2203 -    DEBIT                               by JMCCORMICK
        ITEMS: 1        DOSES:   1
   10/14/16 2216 -    DEBIT                               by JMCCORMICK
        ITEMS: 1        DOSES:   1
   10/15/16 0342 -    DEBIT                               by   JMCCORMICK
        ITEMS: 1        DOSES:   1
   10/15/16 0759 -    DEBIT                               by HBEURKET
        ITEMS: 1        DOSES:   1
   10/15/16 1035 -    DEBIT                               by HBEURKET
        ITEMS: 1        DOSES:   1
              Case 2:18-cv-00924-PD         Document 15-5      Filed 05/03/18   Page 62 of 81
DATE: ll/03/16 @ 0002           Mercy Fitzgerald Hospital PHA *LIVE*                            PAGE 122
USER: MT                         Medication Administration Summary

Patient                                          Responsible Doctor LITTMAN.MARIO, MD
Account Hu.ber.FAi3072i3089          f~t:i.on   FI4PVA             Unit Nuaber     F001250247
Age/Sex         37/M                 Rooa       411                Registered Date 10/07/16
Status          DIS IN               Bed        02                 Discharged Date 11/0 l/16

EFUNNUGA,OLUTOKUNBO                    FA1307223089                             (Continued)

   10/15/16 1212 -    DEBIT                           by HBEURKET
        ITEMS: 1        DOSES: 1
   10/15/16 1521 -    DEBIT                           by HBEURKET
        ITEMS: 1        DOSES: 1
   10/15/16 1602 -    DISCONTINUE                     by   COZHANGH     Eff: 10/15/16 1601
      EDIT DOCTOR:    ZH.ANG,HONGYU MD
      EDIT SOURCE:    Provider Source

Adm.in Date   Ti11.e User       Given Bag Reason Code                 Iten.s          Charqe
10/14/16      0023 FIDAMATV       y                                        1
                      Dose: 100 MCG

10/14/16      0300 FIDAMATV      y                                        1
                     Dose: 100 MCG

10/14/16      0529 FIDAMATV      y                                        1
                     Dose: 100 MCG
10/14/16      0727 FIHOKEL      y                                         1
                    Dose: 100 MCG

10/14/16      0918 FIHOKEL      y                                         1
                    Dose: 100 MCG
10/14/16      1130 FIHOKEL      y                                         1
                    Dose: 100 MCG

10/14/16      1707 FIHOKEL      y                                         1
                    Dose: 100 MCG

10/14/16      1959 FIMCCORJ     y                                         1
                    Dose: 100 MCG

10/14/16      2204 FIMCCORJ     y                                         1
                    Dose: 100 MCG
10/15/16      0343 FIMCCORJ     y                                         1
                    Dose: 100 MCG
10/15/16      0807 FIBEURKH     y                                         1
                    Dose: 100 MCG
10/15/16      1041 FIBEURKH     y                                         1
                    Dose: 100 MCG

10/15/16      1217 FIBEURKH     y                                         1
                    Dose: 100 MCG

10/15/16      1523 FIBEURKH     y                                         1
                    Dose: 100 MCG
              Case 2:18-cv-00924-PD     Document 15-5    Filed 05/03/18   Page 63 of 81

DATE: ll/03/16 @ 0002           Mercy Fitzgerald Hospital PHA *LIVE*                      PAGE 123
USER: MT                         Medication Administration Summary

Patient                                       Resp:msible Doctor LITTMAN,MARIO, MD
Account Hulllber FA1307223089     Location   FI4PVA             Unit Hu.her     F001250247
Age/Sex          37/M             Roca       411                Registered Date 10/07/16
Status           DIS IN           Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                          (Continued)



  A.cilain Totals                                                   14
             Case 2:18-cv-00924-PD             Document 15-5    Filed 05/03/18   Page 64 of 81

DATE: ll/03/16 @ 0002            Mercy Fitzgerald Hospital PHA *LIVE*                             PAGE 124
USER: MT                          Medication Administration Summary

Patient                                            Responsible Doctor LITTMAN,M.ARIO, MD
Account HWll::ler.FAi3bi223089        Location    FI4PV.A            Unit Huaber      F001250247
Age/Sex          37/M                 RCXJll      411                Registered Date 10/07/16
Status           DIS IN               Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                      FA1307223089                            (Continued)

DOCU100C33 - Docusate Sodium 100 MG CAPSULE

  Dose        100 MG (1 CAPSULE)
  Amain Route PO
  Start Date 10/14/16-1130        Stop Date None                        DC Date 10/23/16-1042
  Ordering Doctor     BHARGAVA,SURBHI MD
  Total Dispensed     11          Total Costs $0.33                      Total Charges $11.55
  Rx Nu:aber  001882113



  History
   10/14/16 1131 - POM ORDER                            by COBHARGS
   10/14/16 1131 - NOW DOSE                             by COBHARGS
      Now Dose: 10/14/16 1130
   10/14/16 1131 - KEEP NEXT DOSE                       by COBHARGS
      Keep Next Dose: 10/14/16 2100
   10/14/16 1134 - VERIFIED                             by FIRE.A.LID
   10/14/16 1329 - DEBIT                                by LHOKE
        ITEMS: 1     DOSES: 1
   10/14/16 2005 - DEBIT                                by JMCCORMICK
        ITEMS: 1     DOSES: 1
   10/15/16 0800 - DEBIT                                by HBEURKET
        ITEMS: 1     DOSES: 1
   10/15/16 1953 - DEBIT                                by NREVAK
        ITEMS: 1     DOSES: 1
   10/16/16 1947 - DEBIT                                by NREVAK
        ITEMS: 1     DOSES: 1
   10/18/16 2046 - DEBIT                                by AROSSINO
        ITEMS: 1     DOSES: 1
   10/19/16 0802 - DEBIT                                by DGILMAN
        ITEMS: 1     DOSES: 1
   10/20/16 0919 - DEBIT                                by DGILM.AN
        ITEMS: 1     DOSES: 1
   10/21/16 0929 - DEBIT                                by DGILM.AN
        ITEMS: 1     DOSES: 1
   10/22/16 0759 - DEBIT                                by MCAVANAU
        ITEMS: 1     DOSES: 1
   10/23/16 0807 - DEBIT                                by MCAVANAU
        ITEMS: 1     DOSES: 1
   10/23/16 1047 - DISCONTINUE                          by COMANNR       Eff: 10/23/16 1042
      EDIT DOCTOR: MANN,RUPINDER K MD
      EDIT SOURCE: Provider Source

Ad.ain Date Ti11.e User     Given Bag Reason Code                       Items         Charge
10/14/16    1336 FIHOKEL       Y                                            1           0.00
(10/14/16) (1130) Dose: 100 MG
10/14/16     2008 FIMCCORJ        v                                         1            0. 0 0
             Case 2:18-cv-00924-PD           Document 15-5       Filed 05/03/18   Page 65 of 81

DATE: ll/03/16 @ 0002            Mercy Fitzgerald Hospital PHA *LIVE*                              PAGE 125
USER: MT                          Medication Administration Summary

Patient                                              Resp:Jnsible Doctor LITTMAN.MARIO, MD
Account Huaber :Fii.i3o7223o89     i~t:i.on         FI4PVA              Unit Hu.her     F001250247
Age/Sex         37/M                  Rooa          411                 Registered Date 10/07/16
Status          DIS IN                Bed           02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                     FA1307223089                              (Continued)

(10/14/16) (2100) Dose: 100 MG

10/15/16    0807 FIBEURKH         N          OTHER
(10/15/16) (0900) Dose: 0 MG

10/15/16    2002 FIREVAKN      y                                             1            0. 0 0
(10/15/16) (2100) Dose: 100 MG

10/16/16    0841 FIBEURKH      y                                             1            0. 0 0
(10/16/16) (0900) Dose: 100 MG

10/16/16    1 9 5 3 F !REVAKN  y                                             1            0. 0 0
(10/16/16) (2100) Dose: 100 MG

10/17/16    0900 FIMCCARD         N          REFUSED
(10/17/16) (0900) Dose: 0 MG

10/17/16    2100 FIROSSIA         N           IS
(10/17/16) (2100) Dose: 0 MG

10/18/16    09 00 FIGILMAD        N           IS
(10/18/16) (0900) Dose: 0 MG

10/18/16    2051 FIROSSIA      y                                             1            0. 0 0
(10/18/16) (2100) Dose: 100 MG

10/19/16    0903 FIGILMAD      y                                             1            0. 0 0
(10/19/16) (0900) Dose: 100 MG

10/19/16    2100 FIDONAHS         N           NPO
(10/19/16) (2100) Dose: 0 MG

10/20/16    0923 FIGILMAD      y                                             1            0.00
(10/20/16) (0900) Dose: 100 MG

10/20/16    2027 FIDONAHS         N          NPO
(10/20/16) (2100) Dose: 0 MG

10/21/16    0943 FIGILMAD      y                                             1            0.00
(10/21/16) (0900) Dose: 100 MG

10/21/16    2002 FIDONAHS         N          OTHER
(10/21/16) (2100) Dose: 0 MG
10/22/16    0811 FICAVANMl     y                                             1            0.00
(10/22/16) (0900) Dose: 100 MG

10/22/16    2028 FIDONAHS         N          OTHER
(10/22/16) (2100) Dose: 0 MG
               Case 2:18-cv-00924-PD        Document 15-5     Filed 05/03/18   Page 66 of 81

DATE: ll/03/16 @ 0002            Mercy Fitzgerald Hospital PHA *LIVE*                            PAGE 126
USER: MT                          Medication Administration Summary

Patient                                           Responsible Doctor LITTMAN,MARIO, MD
Account Hwaber.FAi:ioi223o89          Location   FI4PVA             Unit Nu.her     F001250247
Age/Sex        37/M                   Rooa       411                Registered Date 10/07/16
Status         DIS IN                 Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                    FA1307223089                            (Continued)

10/23/16    0811 FICAVANMl     Y                                         1              0. 0 0
(10/23/16) (0900) Dose: 100 MG


  Adai\Totals                                                           11                   0
           \


FENT0.0533 - fentaNYL CITRATE/PF 100 MCG/2 ML

  Dose            50 MCG   (1 ML)
  Dose Instruction         !VP FOR CRITICAL CARE UNITS AND 5-SOUTH ONLY
  Adllin Route IV
  Start Date 10/14/16-2215         Stop Date 10/14/16 2216           DC Date 10/14/16-2216
  Ordering Doctor      OLUBIYI,OLUTAYO I MD
  Total Dispensed      0           Total Costs S                      Total Charges S
  Rx Number    001882592

  Discontinue C:O.aents Reached Stop Date


  History
   10/14/16 2216 - POM ORDER                          by COOLUBIO
   10/14/16 2218 - EDIT                               by FISACKSM
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/14/16 2218 - VERIFIED                           by FISACKSM
   10/14/16 2218 - DISCONTINUE                        by PHABKGJOB     Eff: 10/14/16 2216
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date

AdJain Date    Time User        Given Bag Reason Code                Items          Charge
10/14/16       2218 FIMCCORJ      Y                                      1              0.00
(10/14/16) (2215) Dose: 50 MCG


  Adm.in Totals                                                          1                   0
            Case 2:18-cv-00924-PD       Document 15-5      Filed 05/03/18   Page 67 of 81
DATE: 11/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                          PAGE 127
USER: MT                       Medication Administration Summary

Patient                                        Responsible Doctor LITTMAN.MARIO, MD
Account Hwaber FA1307223089     Loc::;ation   FI4PVA             Unit HWllber    F001250247
Age/Sex        37/M             RCXJ•         411                Registered Date 10/07/16
Status         DIS IN           Bed           02                 Discharged Date 11/01/16

EFUNNUGA,OLUTOKUNBO               FA1307223089                              (Continued)

HYDR1DIS2 - HYDROmorphone HCL (DILAUDID) 1 MG/ML

  Dose        1 MG    (1 ML)
  Dose Instruction      PER PCA ORDER FORM
                        PCA DOSE:               MG
                        LOCKOUT INTERVAL:       MINS
                        CONT. (BASAL)RATE:      MG/HR
                        1 HR LIMIT:             MG
                        LOADING DOSE:           MG
  Adain Route IV
  Start Date 10/14/16-2300         Stop Date 10/14/16 2301        DC Date 10/14/16-2301
  Ordering Doctor     OLUBIYI,OLUTAYO I MD
  Total Dispensed     1            Total Costs $1.11               Total Charges $9.25
  Rx Nuaber   001882601

  Discontinue Coaaents Reached Stop Date

  History
   10/14/16 2254 - POM ORDER                   by COOLUBIO
   10/14/16 2258 - EDIT                        by FISACI<SM
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/14/16 2259 - EDIT                        by FISACI<SM
      EDIT DOCTOR: OLUBIYI,OLUTAYO I MD
      FROM:
        MED: HYDR6PCA2 - HYDROMORPHONE-NS 6 MG/30 ML VL
        RX ID: HYDROmorphone HCl in 0.9% NaCl 6 MG/30 ML PCA. VI.U
        CHARGE: $329.75
        RX COMMENTS:
          Order filed UNV:
          Allergies/Duplicates/Interactions differ from order entry
      TO:
        MED: HYDR1DIS2 - HYDROmorphone HCl/Pf
        RX ID: HYDROmorphone HCL (DILAUDID)-1 MG/ML
        CHARGE: $9.25
        RX COMMENTS:
   10/14/16 2259 - VERIFIED                    by FISACKSM
   10/14/16 2301 - DISCONTINUE                 by PHABKGJOB     Eff: 10/14/16 2301
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date
   10/14/16 2304 - DEBIT                       by JMCCORMICK
        ITEMS: 1      DOSES: 1
               Case 2:18-cv-00924-PD              Document 15-5      Filed 05/03/18   Page 68 of 81

DATE: ll/03/16 @ 0002                  Mercy Fitzgerald Hospital PHA *LIVE*                             PAGE 128
USER: MT                                Medication Administration Summary

Patient                                                  Responsible Doctor LITTMAN,MARIO, MD
Account Hwaber ·:Fi..f3o7223o89 ····     i~ti..c:::in   FI4PVA             Unit Hwaber     F001250247
Age/Sex          37/M                    Roa•           411                Registered Date 10/07/16
Status          DIS IN                   Bed            02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                         FA1307223089                              (Continued)

Adain Date Tiae User         Given Bag Reason Code                          I tells         Charge
10/14/16    2306 FIMCCORJ      Y                                                  1           0.00
(10/14/16) (2300) Dose: 1 MG


  Ad.in Totals                                                                   1                  0
            Case 2:18-cv-00924-PD       Document 15-5     Filed 05/03/18   Page 69 of 81

DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                         PAGE 129
USER: MT                       Medication Administration Summary

Patient                                       Resixinsible Doctor LITTMAN.MARIO, MD
Account Hwaber.FAi3o72i3o89     Location     FI4PVA              Unit Huaber     F001250247
Age/Sex        37/M             RCXJ•        411                 Registered Date 10/07/16
Status         DIS IN           Bed          02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO               FA1307223089                             (Continued)

HYDR1DIS2 - HYDROmorphone HCL (DILAUDID) 1 MG/ML

  Dose        1 MG    (1 ML)
  Dose Instruction      PER PCA ORDER FORM
                        PCA DOSE:              MG
                        LOCKOUT INTERVAL:      MINS
                        CONT. (BASAL)RATE:     MG/HR
                        1 HR LIMIT:            MG
                        LOADING DOSE:          MG
  Ad•in Route IV
  Start Date 10/15/16-0415         Stop Date 10/15/16 0416       DC Date 10/15/16-0416
  Ordering Doctor     OLUBIYI,OLUTAYO I MD
  Total Dispensed     1            Total Costs $1.11              Total Charges $9.25
  Rx Huaber   001882681



  History
   10/15/16 0417 - POM ORDER                   by COOLUBIO
   10/15/16 0422 - EDIT                        by FISACKSM
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/15/16 0423 - EDIT                        by FISACKSM
      EDIT DOCTOR: OLUBIYI,OLUTAYO I MD
      FROM:
        MED: HYDR6PCA2 - HYDROMORPHONE-NS 6 MG/30 ML VL
        RX ID: HYDROmorphone HCl in 0.9% NaCl 6 MG/30 ML PCA.VIAL
        CHARGE: $329.75
        RX COMMENTS:
          Order filed UNV:
          Allergies/Duplicates/Interactions differ from order entry
      TO:
        MED: HYDR1DIS2 - HYDROmorphone HCl/Pf
        RX ID: HYDROmorphone HCL (DILAUDID) 1 MG/ML
        CHARGE: $9. 25
        RX COMMENTS:
   10/15/16 0423 - VERIFIED                    by FISACKSM
   10/15/16 0423 - DISCONTINUE                 by PHABKGJOB    Eff: 10/15/16 0416
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date
   10/15/16 0459 - DEBIT                       by JMCCORMICK
        ITEMS: 1       DOSES: 1
   10/15/16 0502 - DISCONTINUE                 by COBORIKM     Eff: 10/15/16 0416
      EDIT DOCTOR: BORIKAR,MADHURA S MD
             Case 2:18-cv-00924-PD      Document 15-5    Filed 05/03/18    Page 70 of 81

DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                           PAGE 130
USER: MT                       Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN,MARIO, MD
Account Hwaber FA1307223089      Location   FI4PVA             Unit HUlllber   F001250247
Age/Sex        37/M              Rcx:m      411                Registered Date 10/07/16
Status         DIS IN            Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                            (Continued)

      EDIT SOURCE: Provider Source
      FROM:
        DC COMMENTS:
          Reached Stop Date
      TO:
        DC COMMENTS:

Acbain Date Tiae User        Given Bag Reason Cc:x:le            Items           Charge
10/15/16    0415 FIMCCORJ      N       DC
(10/15/16) (0415) Dose: 0 MG


  A.chain Totals


HYDR1DIS2 - HYDROmorphone HCL (DILAUDID) 1 MG/ML

  Dose         1 MG (1 ML)
  Adiain Route IV
  Start Date 10/15/16-0515         Stop Date 10/15/16 0516       DC Date 10/15/16-0516
  Ordering Doctor      BORIKAR,MADHURA S MD
  Total Dispensed      0           Total Costs $                  Total Charges $
  Rx Nuaber    001882695

  Discontinue Com.aents Reached Stop Date


  History
   10/15/16 0502 - POM ORDER                      by COBORIKM
   10/15/16 0514 - EDIT                           by FISACKSM
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/15/16 0514 - VERIFIED                       by FISACKSM
   10/15/16 0516 - DISCONTINUE                    by PHABKGJOB     Eff: 10/15/16 0516
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date

AdJain Date Tiae User        Given Bag Reason Code               I tells        Charge
10/15/16    0515 FIMCCORJ      Y                                      1           0. 0 0
(10/15/16) (0515) Dose: 1 MG


  Adain Totals                                                        1                  0
            Case 2:18-cv-00924-PD     Document 15-5     Filed 05/03/18   Page 71 of 81

DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                       PAGE 131
USER: MT                       Medication Administration Summary

Patient                                    Responsible Doctor LITTMAN,MARIO, MD
Account Hwaber FAi3o7223o89               FI4PVA             Unit Nuaber     F001250247
Age/Sex        37/M                       411                Registered Date 10/07/16
Status         DIS IN                     02                 Discharged Date ll/Ol/16

EFUNNUGA.OLUTOKUNBO               FA1307223089                           (Continued)


FUR010VI7 - FUROSEMIDE 40 MG/4 ML INJECTION

  Dose        40 MG (4 ML)
  Adain Route IV
  Start Date 10/15/16-1145        Stop Date 10/15/16 1146      DC Date 10/15/16-1145
  Ordering Doctor     ZHANG.HONGYU MD
  Total Dispensed     0           Total Costs $                 Total Charges $
  Rx Nuaber   001882864



  History
   10/15/16 1135 - POM ORDER                     by COZHANGH
   10/15/16 1141 - DISCONTINUE                   by COZHANGH     Eff: 10/15/16 114 5
      EDIT DOCTOR: ZHANG.HONGYU MD
      EDIT SOURCE: Provider Source
   10/15/16 1141 - VERIFIED                      by SYSTEM
      Verified in order to DC
            Case 2:18-cv-00924-PD      Document 15-5    Filed 05/03/18    Page 72 of 81

DATE: ll/03/16 @ 0002         Mercy Fitzgerald Hospital PHA *LIVE*                         PAGE 132
USER: MT                       Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN,MARIO, MD
Account Hwaber FA1307223089     Location    FI4PVA             Unit Hwaber     F001250247
Age/Sex        37/M             Rooa        411                Registered Date 10/07/16
Status         DIS IN           Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                          (Continued)


FUR010VI6 - FUROSEMIDE 20 MG/2 ML INJECTION

  Dose         20 MG (2 ML)
  Adm.in Route IV
  Start Date 10/15/16-1145         Stop Date 10/15/16 1146       DC Date 10/15/16-1146
  Ordering Doctor      ZHANG,HONGYU MD
  Total Dispensed      1           Total Costs $0.51              Total Charges $4.25
  Rx Nuaber    001882888

  Discontinue Co. .ents Reached Stop Date


  History
   10/15/16 1141 - POM ORDER                      by COZHANGH
   10/15/16 1151 - EDIT                           by FIJASINT
      FROM:
        INTERACTION COMMENT:
      TO:
        INTERACTION COMMENT: RPH
   10/15/16 1151 - VERIFIED                       by FIJASINT
   10/15/16 1151 - DISCONTINUE                    by PHABKGJOB     Eff: 10/15/16 114 6
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date
   10/15/16 1212 - DEBIT                          by HBEURKET
        ITEMS: 1     DOSES: 1

Adm.in Date Tiae User       Given Bag Reason Code                Items         Charge
10/15/16    1217 FIBEURKH     Y                                      1           0. 0 0
(10/15/16) (1145) Dose: 20 MG


  Adm.in Totals                                                      1                 0
            Case 2:18-cv-00924-PD      Document 15-5     Filed 05/03/18   Page 73 of 81

DATE: ll/03/16 @ 0002          Mercy Fitzgerald Hospital PHA *LIVE*                       PAGE 133
USER: MT                        Medication Administration Summary

Patient                                      Responsible Doctor LITTMAN.MARIO, MD
Account Hu..ber FA1307223089     iocatian   FI4PVA             Unit Hwaber     F001250247
Age/Sex         37/M             Rooa       411                Registered Date 10/07/16
Status          DIS IN           Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                           (Continued)

RISP2TAB - risperiDONE 2 MG TABLET

  Dose        2 MG (1 TABLET)
  Adain Route PO
  Start Date 10/15/16-1215        Stop Date None                DC Date ll/Ol/16-2054
  Ordering Doctor     ZHANG,HONGYU MD
  Total Dispensed     32          Total Costs $10.56             Total Charges $43.20
  Rx Nuaber   001882900

  Discontinue Coaaents DC'd by Discharge


  History
   10/15/16 1206 - POM COPY AND EDIT           by COZHANGH
      FROM: Rx #001879823
   10/15/16 1206 - NOW DOSE                    by COZHANGH
      Now Dose: 10/15/16 1215
   10/15/16 1206 - KEEP NEXT DOSE              by COZHANGH
      Keep Next Dose: 10/15/16 2100
   10/15/16 1209 - EDIT                        by FIJASINT
      EDIT DOCTOR: ZHANG,HONGYU MD
      FROM:
        MED: RISPlTAB - RisperDAL
        RX ID: risperiDONE 1 MG TABLET
        CHARGE: $2. 50
        RX COMMENTS:
          Order filed UNV:
          Allergies/Duplicates/Interactions differ from order entry
      TO:
        MED: RISP2TAB - risperiDONE
        RX ID: risperiDONE 2 MG TABLET
        CHARGE : $ l . 3 5
        RX COMMENTS:
   10/15/16 1209 - VERIFIED                    by FIJASINT
   10/15/16 1212 - DEBIT                       by HBEURKET
        ITEMS: 1          DOSES: 1
   10/15/16 1953 - DEBIT                       by NREVAK
        ITEMS: 1          DOSES: 1
   10/16/16 0802 - DEBIT                       by HBEURKET
        ITEMS: 1          DOSES: 1
   10/16/16 1947 - DEBIT                       by NREVAK
        ITEMS: 1          DOSES: 1
   10/17/16 0904 - DEBIT                       by DMCCARTH
        ITEMS: 1          DOSES: 1
   10/17/16 2102 - DEBIT                       by AROSSINO
        ITEMS: 1          DOSES: 1
   10/17/16 2107 - CREDIT                      by AROSSINO
        ITEMS: 1          DOSES: 1
   10/18/16 2044 - DEBIT                       by AROSSINO
            Case 2:18-cv-00924-PD           Document 15-5    Filed 05/03/18   Page 74 of 81

DATE: ll/03/16 @ 0002            Mercy Fitzgerald Hospital PHA *LIVE*                         PAGE 134
USER: MT                          Medication Administration Summary

Patient                                          Resp:msible Doctor LITTMAN,MARIO, MD
Account Hu.her FA1307223089          Location   FI4PVA             Unit Number     F001250247
age/Sex        37/M                  Rooa       411                Registered Date 10/07/16
Status         DIS IN                Bed        02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                   FA1307223089                            (Continued)

        ITEMS: 1        DOSES:   1
   10/19/16 0802 -    DEBIT                           by DGILM.AN
        ITEMS: 1        DOSES:   1
   10/20/16 0919 -    DEBIT                           by DGILM.AN
        ITEMS: 1        DOSES:   1
   10/20/16 2004 -    DEBIT                           by SDONAHUE
        ITEMS: 1        DOSES:   1
   10/21/16 0930 -    DEBIT                           by DGILM.AN
        ITEMS: 1        DOSES:   1
   10/21/16 1947 -    DEBIT                           by SDONAHUE
        ITEMS: 1        DOSES:   1
   10/22/16 0800 -    DEBIT                           by MCAVANAU
        ITEMS: 1        DOSES:   1
   10/22/16 2004 -    DEBIT                           by SDONAHUE
        ITEMS: 1        DOSES:   1
   10/23/16 0808 -    DEBIT                           by MCAVANAU
        ITEMS: 1        DOSES:   1
   10/23/16 2035 -    DEBIT                           by AROSSINO
        ITEMS: 1        DOSES:   1
   10/24/16 0907 -    DEBIT                           by DGILMAN
        ITEMS: 1        DOSES:   1
   10/24/16 2031 -    DEBIT                           by SYOUNG
        ITEMS: 1        DOSES:   1
   10/25/16 0930 -    DEBIT                           by DGILM.AN
        ITEMS: 1        DOSES:   1
   10/25/16 2026 -    DEBIT                           by SYOUNG
        ITEMS: 1        DOSES:   1
   10/26/16 0953 -    DEBIT                           by DGILMAN
        ITEMS: 1        DOSES:   1
   10/26/16 2119 -    DEBIT                           by MMCGILL
        ITEMS: 1        DOSES:   1
   10/27/16 0818 -    DEBIT                           by MMAXWELL
        ITEMS: 1        DOSES:   1
   10/27/16 2146 -    DEBIT                          by JDESALVO
        ITEMS: 1        DOSES:   1
   10/28/16 0829 -    DEBIT                          by NC ARTER
        ITEMS: 1        DOSES: 1
   10/28/16 2120 -    DEBIT                          by JAEKIM
        ITEMS: 1        DOSES:   1
   10/29/16 0840 -    DEBIT                          by MHALL.AMY
        ITEMS: 1        DOSES:   1
   10/29/16 2055 -    DEBIT                          by I<SKANE
        ITEMS: 1        DOSES:   1
   10/30/16 0733 -    DEBIT                          by ABLE ILER
        ITEMS: 1        DOSES:   1
   10/30/16 2015 -    DEBIT                          by DTAGOE
        ITEMS: 1        DOSES:   1
   10/31/16 084 7 -   DEBIT                          by KM OSLEY
        ITEMS: 1        DOSES:   1
   10/31/16 2039 -    DEBIT                          by DTAGOE
             Case 2:18-cv-00924-PD          Document 15-5      Filed 05/03/18   Page 75 of 81

DATE: ll/03/16 @ 0002           Mercy Fitzgerald Hospital PHA *LIVE*                             PAGE 135
USER: MT                         Medication Administration Summary

Patient                                            Responsible Doctor LITTMAN.MARIO, MD
Account Nuaber FA1307223089          Location     FI4PVA             Unit Nu..ber    F001250247
Age/Sex        37/M                  Rooa         411                Registered Date 10/07/16
Status         DIS IN                Bed          02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                    FA1307223089                             (Continued)

        ITEMS: 1     DOSES: 1
   ll/Ol/16 1046 - DEBIT                                by MHALL.AMY
        ITEMS: 1     DOSES: 1
   ll/Ol/16 2055 - DISCONTINUE                          by DISCHARGE    Eff: ll/Ol/16 205 4
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          DC'd by Discharge

Acbtin Date Tiae User          Given Bag Reason Cc:x:le                Items         Charge
10/15/16    1216 FIBEURKH        y                                         1           0.00
(10/15/16) (1215 ) Dose : 2 MG

10/15/16    2002 FIREVAKN        y                                         1            0. 0 0
(10/15/16) (2100) Dose: 2 MG

10/16/16    0840 FIBEURKH        y                                         1            0. 0 0
(10/16/16) (0900) Dose: 2 MG

10/16/16    1953 FIREVAKN        y                                         1            0. 0 0
(10/16/16) (2100) Dose: 2 MG

10/17/16    0900 FIMCCARD        N          REFUSED
(10/17/16) (0900) Dose: 0 MG

10/17/16    2100 FIROSSIA        N          IS
(10/17/16) (2100) Dose: 0 MG

10/18/16    0900 FIGILMAD        N          IS
(10/18/16) (0900) Dose: 0 MG

10/18/16    2051 FIROSSI.A       y                                         1            0. 0 0
(10/18/16) (2100) Dose: 2 MG

10/19/16    0903 FIGILMAD        y                                         1            0. 0 0
(10/19/16) (0900) Dose: 2 MG

10/l 9/l 6  2100 FIDONAHS        N          NPO
(10/19/16) (2100) Dose: 0 MG

10/20/16    0923 FIGILMAD        y                                         1            0.00
(10/20/16) (0900) Dose: 2 MG
10/20/16    2027 FIDONAHS        y                                        1             0. 0 0
(10/20/16) (2100) Dose: 2 MG

10/21/16     0945 FIGILMAD       y                                        1             0.00
( 10/21/16) (0900) Dose: 2 MG
              Case 2:18-cv-00924-PD                 Document 15-5    Filed 05/03/18   Page 76 of 81

DATE: 11/03/16 @ 0002                Mercy Fitzgerald Hospital PHA *LIVE*                              PAGE 136
USER: MT                              Medication Administration Summary

Patient                                                   Responsible Doctor LITTMAN,MARIO, MD
A=unt Huaber · FAi3b7223oe9          ·       i~t.l..~n   FI4PVA             Unit Number     F001250247
Age/Sex        37/M                          Roca        411                Registered Date 10/07/16
Status         DIS IN                        Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                            FA1307223089                           (Continued)

10/21/16    2001 FIDONAHS                y                                       1            0.00
(10/21/16) (2100) Dose: 2 MG

10/22/16    0811 FICAVANMl               y                                       1            0. 0 0
(10/22/16) (0900) Dose: 2 MG

10/22/16    2015 FIDONAHS                y                                       1            0.00
(10/22/16) (2100) Dose: 2 MG

10/23/16    0811 FICAVANMl               y                                       1            0.00
(10/23/16) (0900) Dose: 2 MG

10/23/16    2041 FIROSSIA.               y                                       1            0. 0 0
(10/23/16) (2100) Dose: 2 MG

10/24/16     0914 FIGILMAD               y                                       1            0.00
(10/24/16) ( 0 9 0 0 ) Dose : 2 MG

10/24/16    2034 FIYOUNGS                y                                       1            0.00
(10/24/16) (2100) Dose: 2 MG

10/25/16    0935 FIGILMAD                y                                       1            0. 0 0
(10/25/16) (0900) Dose: 2 MG

10/25/16    2038 FIYOUNGS                y                                       1            0.00
(10/25/16) (2100) Dose: 2 MG

10/26/16    1001 FIGILMAD                y                                       1            0. 0 0
(10/26/16) (0900) Dose: 2 MG

10/26/16    2146 FIMCGILM                y                                       1            0.00
(10/26/16) (2100) Dose: 2 MG

10/27/16    08 26 FIMAXWEM               y                                       1            0.00
(10/27/16) (0900) Dose: 2 MG

10/27/16    210 0 FIDESALJ               N          REFUSED
(10/27/16) (2100) Dose: 0 MG

10/28/16    0830 FICARTEN                y                                       1            0.00
(10/28/16) (0900) Dose: 2 MG

10/28/16    2121 FIKIMJ                  y                                       1            0.00
(10/28/16) (2100) Dose: 2 MG

10/29/16    0901 FIHALLAM                y                                       1            0. 0 0
(10/29/16) (0900) Dose: 2 MG

10/29/16    2209 FISKANEK                y                                       1            0.00
(10/29/16) (2100) Dose: 2 MG
             Case 2:18-cv-00924-PD           Document 15-5     Filed 05/03/18   Page 77 of 81

DATE: ll/03/16 @ 0002           Mercy Fitzgerald Hospital PHA *LIVE*                              PAGE 137
USER: MT                         Medication Administration Summary

Patient                                             Responsible Doctor LITTMAN,MARIO, MD
Account Hllllher FA1307223089        iocati4::1n   FI4PVA             Unit HW11.ber   F001250247
Age/Sex          37/M                Rooa          411                Registered Date 10/07/16
Status           DIS IN              Bed           02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                    FA1307223089                             (Continued)


10/30/16    0825 FIBLEILA        y                                         1            0. 0 0
(10/30/16) (0900) Dose: 2 MG

10/30/16    2053 FITAGOED        y                                         1            0. 0 0
(10/30/16) (2100) Dose: 2 MG

10/31/16    0857 FIMOSLEK        y                                         1            0. 0 0
(10/31/16) (0900) Dose: 2 MG

10/31/16    2344 FITAGOED        y                                         1            0. 0 0
(10/31/16) (2100) Dose: 2 MG

ll/Ol/16    1046 FIHALLAM        y                                         1            0. 0 0
(ll/01/16) (0900) Dose: 2 MG


  Adain Totals                                                            30                  0
              Case 2:18-cv-00924-PD     Document 15-5     Filed 05/03/18    Page 78 of 81

DATE: ll/03/16 @ 0002           Mercy Fitzgerald Hospital PHA *LIVE*                          PAGE 138
USER: MT                         Medication Administration Summary

Patient                                        Resp:msible Doctor LITTMAN,MARIO, MD
account Nllllher FA1307223089     Lcx;ation   FI4PVA             Unit NUJ11.ber  F001250247
age/Sex          37/M             RCXJa       411                Registered Date 10/07/16
Status           DIS IN           Bed         02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                            (Continued)

HAL05AMP - HALOPERIDOL LACTATE (SHORT ACTING) 5 MG/ML INJECTION

  Dose          5 MG   (1 ML)
  Dose   Instruction     IV USE ONLY IN SICU AND 5PAV
                         SHORT ACTING
  Adain Route IV
  Start Date 10/16/16-0245        Stop Date 10/16/16 0246          DC Date 10/16/16-0246
  Ordering Doctor     GOOCH,JOHN R MD
  Total Dispensed     1           Total Costs $0.56                 Total Charges $4.75
  Rx Nuaber   001883432

  Discontinue Coam.ents Reached Stop Date


  History
   10/16/16 0245 - POM ORDER                        by COGOOCHJ
   10/16/16 0246 - EDIT                             by FISACKSM
      FROM:
        INTERACTION COMMENT:
        DUPLICATE COMMENT:
      TO:
        INTERACTION COMMENT: RPH
        DUPLICATE COMMENT: RPH
   10/16/16 0247 - VERIFIED                        by FISACI<SM
   10/16/16 0247 - DISCONTINUE                     by PHABI<GJOB     Eff: 10/16/16 024 6
      FROM:
        DC COMMENTS:
      TO:
        DC COMMENTS:
          Reached Stop Date
   10/16/16 0318 - DEBIT                           by NREVAI<
        ITEMS: 1     DOSES: 1
admin Date Tiae User         Given Bag Reason Code                 Iten.s        Charge
10/16/16    0319 FIREVAI<N     Y                                       1           0. 0 0
(10/16/16) (0245) Dose: 5 MG

  Adain Totals                                                         1                  0
            Case 2:18-cv-00924-PD      Document 15-5     Filed 05/03/18   Page 79 of 81

DATE: ll/03/16 @ 0002          Mercy Fitzgerald Hospital PHA *LIVE*                       PAGE 139
USER: MT                        Medication Administration Summary

Patient                                      Res:ponsible Doctor LITTMAN.MARIO, MD
Account Nu.aber FA1307223089     Location   FI4PVA              Unit Nuaber     F001250247
Age/Sex         37/M             Rooa       411                 Registered Date 10/07/16
Status          DIS IN           Bed        02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                FA1307223089                           (Continued)


HAL05AMP - HALOPERIDOL LACTATE (SHORT ACTING) 5 MG/ML INJECTION

  Dose        5 MG    (1 ML)
  Dose Instruction      IV USE ONLY IN SICU AND 5PAV
                        SHORT ACTING
  Ad.Jain Route IV
  Frequency     ONCE (PRN) PAR= PRN REASON: RASS>2
  Start Date 10/16/16-1100          Stop Date 10/16/16 2300     DC Date 10/16/16-2103
  Ordering Doctor       ZHANG,HONGYU MD
  Total Dispensed       2           Total Costs Sl.12            Total Charges $9.50
  Rx Number     001883694



  History
   10/16/16 1110 - POM ORDER                    by COZHANGH
   10/16/16 1120 - EDIT                         by FIJASINT
      FROM:
        INTERACTION COMMENT:
        DUPLICATE COMMENT:
      TO:
        INTERACTION COMMENT: RPH
        DUPLICATE COMMENT: RPH
   10/16/16 1120 - EDIT                         by FIJASINT
      EDIT DOCTOR: ZHANG,HONGYU MD
      FROM:
        START: 10/16/16-1100   STOP: None    SOFT STOP:
      TO:
        START: 10/16/16-1100   STOP: 10/16/16-2300     SOFT STOP:
        INTERACTION COMMENT: RPH
        DUPLICATE COMMENT: RPH
   10/16/16 1120 - VERIFIED                     by FIJASINT
   10/16/16 1442 - DEBIT                        by HBEURKET
        ITEMS: 1     DOSES: 1
   10/16/16 2003 - DEBIT                        by FISACKSM
        ITEMS: 1     DOSES: 1
   10/16/16 2009 - CREDIT                       by FISACKSM
          Dose credited to dispensing machine inventory.
          Charge not credited to patient account.
          DISPENSING MACHINE INVENTORY: FTZSPAVA
   10/16/16 2010 - CREDIT                       by FISACKSM
          Dose credited to dispensing machine inventory.
          Charge not credited to patient account.
          DISPENSING MACHINE INVENTORY: FTZSPAVA
   10/16/16 2106 - DISCONTINUE                  by COMALIA        Ef f: 10/16/16 210 3
      EDIT DOCTOR: MALIK.AMMAR M MD
      EDIT SOURCE: Provider Source
   10/16/16 2106 - POM COPY AND EDIT            by COMALIA
      TO: RK #U001138333
             Case 2:18-cv-00924-PD        Document 15-5     Filed 05/03/18   Page 80 of 81

DATE: ll/03/16 @ 0002          Mercy Fitzgerald Hospital PHA *LIVE*                          PAGE 140
USER: MT                        Medication Administration Summary

Patient                                          Responsible Doctor LITTMAN,MARIO, MD
Account Hu.her ·FAi3oi223089   ···· iOC:dtion   FI4PVA             Unit Huaber     F001250247
Age/Sex         37/M              RCXJa         411                Registered Date 10/07/16
Status          DIS IN            Bed           02                 Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                 FA1307223089                             (Continued)


Admin Date   Tiae ~U=s=e=r~~~ Given Bag Reason Code                 I tens         Charge
10/16/16     1447 FIBEURKH      y                                       1
                   Dose: 5 MG


  Adain Totals                                                          1
               Case 2:18-cv-00924-PD         Document 15-5     Filed 05/03/18    Page 81 of 81

DATE: ll/03/16 @ 0002            Mercy Fitzgerald Hospital PHA *LIVE*                            PAGE 141
USER: MT                          Medication Administration Summary

Patient                                           Resp:Jnsible Doctor LITTMAN,MARIO, MD
Account H~·FAi307223089               Location   FI4PVA              Unit Hwaber     F001250247
Age/Sex       37/M                    Rooa       411                 Registered Date 10/07/16
Status        DIS IN                  Bed        02                  Discharged Date ll/Ol/16

EFUNNUGA,OLUTOKUNBO                     FA1307223089                            (Continued)


LORA2VIA13 - LORazepam 2 MG/ML 1 ML VIAL

  Dose        1 MG    (0.5 ML)
  Dose Instruction      CIWA PROTOCOL - FOR 5PAV/SICU ONLY
                        **Notify ICU Resident/Intensivist if more than 2
                        consecutive qlh doses are given.
  Aclmin Route IV
  Frequency    QlH (PRN) PAR= PRN REASON: CIWAl0-20 - CIWA score 10-20
  Start Date 10/16/16-1100         Stop Date None             DC Date 10/19/16-1033
  Ordering Doctor      ZHANG,HONGYU MD
  Total Dispensed      4           Total Costs $2.24           Total Charges $19.00
  Rx Null.her  001883695



  History
   10/16/16 1109 - POM ORDER                           by COZHANGH
   10/16/16 1120 - EDIT                                by FIJASINT
      FROM:
        DUPLICATE COMMENT:
      TO:
        DUPLICATE COMMENT: RPH
   10/16/16 1120 - VERIFIED                            by FIJASINT
   10/17/16 1346 - DEBIT                               by ADALISAY
        ITEMS: 1     DOSES: 1
   10/18/16 0220 - DEBIT                               by AROSSINO
        ITEMS: 1     DOSES: 1
   10/18/16 0309 - DEBIT                               by AROSSINO
        ITEMS: 1     DOSES: 1
   10/18/16 2211 - DEBIT                               by AROSSINO
        ITEMS: 1     DOSES: 1
   10/19/16 1034 - DISCONTINUE                         by COBORIKM     Eff: 10/19/16 103 3
      EDIT DOCTOR: BORIKAR,MADHURA S MD
      EDIT SOURCE: Provider Source

Achnin Date   Tiae User        Given Bag Reason Code                 Item.s          Charge
10/18/16      0221 FIROSSIA      y                                       1
                    Dose: 1 MG

10/18/16      0316 FI ROSS IA     y                                      1
                    Dose: 1 MG

10/18/16      2211 FIROSSIA       y                                      1
                    Dose: 1 MG


  Act.in Totals                                                          3
